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  EXHIBIT 21
  Email from
   Plaintiff to
    Roman
           Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 2 of 175

RE: Final Paper
Gregg Roman <Roman@meforum.org>
Tue 5/15/2018 10:37 AM
To: Lisa Barbounis <lisa.e.reynolds@gmail.com>
Very good job. Share with DP perhaps.

From: Lisa Barbounis <lisa.e.reynolds@gmail.com>
Sent: Tuesday, May 15, 2018 1:51 AM
To: Gregg Roman <Roman@meforum.org>
Subject: Fwd: Final Paper


>
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   EXHIBIT 22
   Message from
   Plaintiff to P.
     McNulty
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 4 of 175

2018-03-30 12:32:18 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Fri, 30 Mar 2018 08:32:18 -0400



I’m going to punch Marnie and quit
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 5 of 175

2018-03-30 12:32:47 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Fri, 30 Mar 2018 08:32:47 -0400



Is she emailing you again?!?!!
            Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 6 of 175

2018-03-30 12:34:12 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Fri, 30 Mar 2018 08:34:12 -0400
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 7 of 175
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 8 of 175

2018-03-30 12:34:58 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Fri, 30 Mar 2018 08:34:58 -0400



She sent me an email asking for minutes from last year when I wasn’t here and for this year which I didn’t do. FUCKING
LOOK IN DROPBOX BITCH
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 9 of 175

2018-03-30 12:35:14 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Fri, 30 Mar 2018 08:35:14 -0400



I’m actively looking for a new job
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 10 of 175

2018-03-30 12:35:22 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Fri, 30 Mar 2018 08:35:22 -0400



I hate this type of work anyway
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 11 of 175

2018-03-30 12:35:44 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Fri, 30 Mar 2018 08:35:44 -0400



______ don't even worry about that, it's not needed right this second, or this week, it's needed for the 16th
           Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 12 of 175

2018-03-30 12:35:49 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:       Tricia McNulty <"+1 609-742-1968">
To:         Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:       Fri, 30 Mar 2018 08:35:49 -0400



Waaaaaaaah but meeeeeee
           Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 13 of 175

2018-03-30 12:36:11 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Fri, 30 Mar 2018 08:36:11 -0400
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 14 of 175
             Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 15 of 175

2018-03-30 12:36:33 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Fri, 30 Mar 2018 08:36:33 -0400



She is in MAJA boss mode __ she sent an email out yesterday about letting her know when we change schedules and
that's cause Matt didn't come in yesterday and told me but not her
             Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 16 of 175

2018-03-30 12:37:49 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Fri, 30 Mar 2018 08:37:49 -0400



Yeah, stay your ass on the beach, don't mind her
           Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 17 of 175

2018-03-30 12:38:56 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Fri, 30 Mar 2018 08:38:56 -0400



__
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2018-03-30 12:57:59 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:           Tricia McNulty <"+1 609-742-1968">
To:             Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:           Fri, 30 Mar 2018 08:57:59 -0400



I know, she's on a power trip, don't let it get to you... Somebody get this girl a mimosa!!!!!!!
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 EXHIBIT 23
 Message from
 Plaintiff to P.
   McNulty
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 20 of 175

2018-02-02 18:03:59 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Fri, 02 Feb 2018 13:03:59 -0500



I’ve had it with Marnie. I do not trust her
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 21 of 175

2018-02-02 18:05:22 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Fri, 02 Feb 2018 13:05:22 -0500



I told her about the thing with Gregg and she went right to matt to see if he knew. Like why talk about it? I fucking told
you it happened. But I can’t say anything because it would throw matt under the bus
            Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 22 of 175

2018-02-02 18:06:06 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Fri, 02 Feb 2018 13:06:06 -0500



______
             Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 23 of 175

2018-02-02 18:06:10 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:         Tricia McNulty <"+1 609-742-1968">
To:           Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:         Fri, 02 Feb 2018 13:06:10 -0500



Yo. Agreed. And if you’re gonna preach about how hr works...
           Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 24 of 175

2018-02-02 18:06:23 UTC: +12159102154@iMessage -> [3 recipients]

From:   Home <+12159102154@imessage>
To:     Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:   Fri, 02 Feb 2018 13:06:23 -0500



EXACTLY.
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 25 of 175

2018-02-02 18:08:02 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Fri, 02 Feb 2018 13:08:02 -0500



I will never vent to her about a work thing ever again, or honestly even talk about the good.. no work talk with her. I feel
like things get misconstrued or she goes straight to Gregg with it
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 26 of 175

2018-02-02 18:08:14 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Fri, 02 Feb 2018 13:08:14 -0500



I’m hot over here
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 27 of 175

2018-02-02 18:09:36 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Fri, 02 Feb 2018 13:09:36 -0500



Just learn from it and carry on, just sucks that you know you have to tip toe around works or topics with people
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 28 of 175

2018-02-02 18:18:00 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Fri, 02 Feb 2018 13:18:00 -0500



I have a bad habit of taking things as a direct assault
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 29 of 175

2018-02-02 18:19:22 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Fri, 02 Feb 2018 13:19:22 -0500



Yeah, I know the feeling, haha.. but i would just take this as a live and learn experience, can’t talk about everything with
everyone and now you have a better idea of where those boundaries lie there
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 30 of 175




   EXHIBIT 24
   Message from
   Plaintiff to P.
     McNulty
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 31 of 175
 Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 32 of 175




  EXHIBIT 25
   Messages
between Plaintiff
and P. McNulty
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 33 of 175

2018-04-09 15:26:46 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 09 Apr 2018 11:26:46 -0400



I was up so late last night working on this power point and accidentally deleted it. I actually cried. Vasili tried to get it
back it didn’t happen. I’m half way done. It’s at 6 I’m thinking of ramping up my heart and taking a trip to the er to
postpone. __
             Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 34 of 175

2018-04-09 15:26:53 UTC: +12159102154@iMessage -> [3 recipients]

From:    Home <+12159102154@imessage>
To:      Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:    Mon, 09 Apr 2018 11:26:53 -0400



I know I’m insane
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 35 of 175

2018-04-09 15:29:03 UTC: +1 609-742-1968 -> [+1 215-910-2154,
lisarey@sas.upenn.edu]

From:          Tricia McNulty <"+1 609-742-1968">
To:            Home <"+1 215-910-2154">, Home <lisarey@sas.upenn.edu>
Date:          Mon, 09 Apr 2018 11:29:03 -0400



Hooooolyyyy shitttt.. ohmygod. How is it even possible it didn't automatically save, I would've cried too ☹ don't make
your heart go crazy though!! You know if a trip to the Er would get you a get out of jail free card you could just go and SAY
your heart was acting up
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 36 of 175

2018-04-09 15:30:50 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 09 Apr 2018 11:30:50 -0400



My heart was insane last night. I thought I was going to die. Adderall, coffee, anxiety, anger. That’s what gave me the
idea __
              Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 37 of 175

2018-04-09 15:31:50 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 09 Apr 2018 11:31:50 -0400



If Gregg calls or emails today I may get fired or quit __
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2018-04-09 15:32:00 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Mon, 09 Apr 2018 11:32:00 -0400



Not really but you get it
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 EXHIBIT 26
Emails between
 Plaintiff and
   Roman
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 40 of 175
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 41 of 175




 EXHIBIT 27
 Affidavits of
Brett Goldman
  and Jared
   Geldner
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 42 of 175
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 43 of 175
       Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 44 of 175




                                   Affidavit of Jarad Geldner
DISTRICT OF COLUMBIA
COUNTY OF WASHINGTON

The undersigned, JARAD GELDNER,being duly sworn, hereby deposes and says:

       l. I am over the age of 18 and am a resident of the State of Maryland. I have personal
       knowledge of the facts herein, and, if called as a witness, could testify completely thereto.

       2. I suffer no legal disabilities and have personal knowledge of the facts set forth below.

       3. Please write in simple and complete sentences and limit each statement to only one or two
       main points. Also, make sure to write using the first person and use "I" statements. For
       example: "I have been the president of ABC, Inc. for the last 10 years. " For tips on how to
       write statements of fact refer to the help provided.

I declare that, to the best of my knowledge and belief, the information herein is true, correct, and
complete.

Executed this            day of                           2020
Jara           r
      Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 45 of 175



  Sometime in early to mid 2018, Gregg Roman called me to
                                                              ask if I would consider joining the
  board of a nonprofit 501(c)(4) organization he intended to
                                                             create.
  My interpretation of the request was that Mr. Roman
                                                        wanted me to provide guidance and advice
  on forming and steering an organization that
                                                operates in the nonprofit advocacy space To the
  best of my recollection, the 501(c)(4) organization
                                                      was intended to work towards countering the
  influence of extremist viewpoints in the West.

  Since I had previously worked to form and grow a
                                                    reasonably noteworthy Democratic Super
  PAC, I believed he thought I had some insight to share on
                                                            how to do this, but Mr. Roman did not
  state this explicitly.

  I never provided a response to Mr. Roman, as I had recently
                                                              started a new job and wasn't sure
  whom I needed to ask for permission to make such an agreement.

  At some point after he asked me to join the board, Mr. Roman informed
                                                                          me that he would no
  longer be forming this organization and that he would continue
                                                                 to work in his existing role at
  Middle East Forum.

                               NOTARY ACKNOWLEDGEMENT
  DISTRICT OF COLUMBIA, ss.•

  This Affidavit was acknowledged before me on this           day of
2-C2-Ö by Jarad Geldner, who, being first duly sworn on oath according to
                                                                             law, depo     and says
  that he/she has read the foregoing Affidavit subscribed by him/her, and that the
                                                                                   matters stated
  herein are true to the best of his/her information, knowledge and belief.



                                                 otary Public


                                               Title (and       )
                                               My commission expires30               202%
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  EXHIBIT 28
Draft Articles of
 Incorporation
      Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 47 of 175




                              ARTICLES OF INCORPORATION
                                           of
                                    [INSERT NAME]


TO:    Department of Consumer and Regulatory Affairs
       District of Columbia Government
       Corporations Division


       The undersigned, acting as the Incorporator of a nonprofit corporation under the
provisions of the District of Columbia Business Organizations Code (D.C. Code, Title 29) (the
“Act”), adopts the following Articles of Incorporation:

       FIRST: The name of the Corporation is [Insert Name] (the “Corporation”).

        SECOND: The Corporation is incorporated as a nonprofit corporation under D.C. Code,
Title 29, Chapter 4.

       THIRD: The period of the Corporation’s duration is perpetual.

        FOURTH: The Corporation is organized as a social welfare organization within the
meaning of Section 501(c)(4) of the Internal Revenue Code of 1986, as now in effect or as
hereafter may be amended (the “Code”). In furtherance of its exclusive corporate purposes, the
Corporation shall have all the general powers enumerated in Section 29-403.02 of the Act as now
in effect or as may hereafter be amended, together with the power to solicit grants and
contributions for such purposes, except as the same may be limited by Section 501(c)(4) of the
Code.

       FIFTH: The Corporation is not authorized to issue shares of stock.

       SIXTH: The Corporation shall have members. The members shall have such classes and
such voting rights as set forth in the Corporation’s Bylaws.

        SEVENTH: The powers of the Corporation shall be exercised, and its affairs conducted,
by a board of directors of the Corporation (the “Board of Directors”) who shall be elected by the
existing Board of Directors in the manner provided for from time to time in the Bylaws of the
Corporation. The number of directors may be increased or decreased pursuant to the Bylaws of
the Corporation, but shall not be less than the minimum number of directors required by law.

       EIGHTH: Provisions for the regulation of the internal affairs of the Corporation,
including provisions for distribution of assets on dissolution or final liquidation are as follows:

        A. No part of the net earnings of the Corporation shall inure to the benefit of, or be
distributable to, any director or officer of the Corporation or any other private individual, except
that the Corporation shall be authorized and empowered to pay reasonable compensation for
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services rendered to or for the Corporation and to make payments and distributions in
furtherance of its purposes as described herein.

       B. Notwithstanding any other provisions of this Certificate of Incorporation, the
Corporation shall not directly or indirectly carry on any activity which would prevent it from
obtaining exemption from Federal income taxation as a corporation described in Section
501(c)(4) of the Code, or cause it to lose such exempt status.

         C. In the event of dissolution or final liquidation of the Corporation, the remaining
assets of the Corporation shall, after paying or making provision for the payment of all of the
liabilities and obligations of the Corporation, be distributed as the Board of Directors shall
determine and in accordance with applicable law and regulations.

        D. To the fullest extent permitted by the Act, as now in effect or as may hereafter be
amended, no officer or director of the Corporation shall be personally liable to the Corporation
for monetary damages for any breach of fiduciary duty as an officer or director of the
Corporation; provided, however, that such relief from liability shall not apply in any instance
where such relief is inconsistent with applicable law. Subject to the provisions of the Bylaws,
the Corporation shall indemnify any officer, director, or agent of the Corporation to the fullest
extent permitted by and in accordance with the Act.

         NINTH: The address, including street and number, of the initial registered office of the
Corporation is 1025 Vermont Avenue, NW, Suite 1130, Washington, DC 20005, and the name
of its initial registered agent at such address is COGENCY GLOBAL INC.

         TENTH: The name and address of the incorporator are as follows:

         Name                                 Address

         Thomas W. Antonucci                  c/o Wiley Rein LLP
                                              1776 K Street NW
                                              Washington, DC 20006

Dated: February __, 2019

                               [SIGNATURE PAGE FOLLOWS]
4825-1845-4664.1




                                                -2-
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                              SIGNATURE PAGE TO
                          ARTICLES OF INCORPORATION
                                       of
                                 [INSERT NAME]


        IN WITNESS WHEREOF, the undersigned has executed these Articles of Incorporation
as of the date set forth above.


                                                ______________________________
                                                Thomas W. Antonucci, Incorporator




                                          -3-
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 EXHIBIT 29
 Meeting Notes
     Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 51 of 175



                                    Project Directors Meeting
                                           11/20/2017

All Directors:
    1. Each director needs press release entries. Due Wednesday morning at 10:00am send to
       Marc and put into the Dropbox folder he created
    2. If anyone asks about the antidefamation case do not comment. Doesn’t involve MEF
       directly we funded them. If they press send them to Gregg
    3. Any conversation about PAC or 501c4 can’t be done on MEF email. No campaign finance
       on MEF emails
    4. Update meeting lists
    5. Marc gets cc/updated on anything with substance
    6. Gregg wants all to act as agents of our ideas and to facilitate media connections
    7. If anyone needs posting training for the new website, please email Gregg

EJ:
   1.  IVP CIVC Mini Report
   2.  Follow up IVP events
   3.   10 Members to target by the end of the year
   4.  Get CIVC Members to 50
   5.  Met with State Dept. advisor to Nicki Haley
           a. Haley supports the Idea
           b. Carey off the record – Haley viewpoints are aligned with IVP
           c. Talked about event at UN or private lunch to move the envelope
           d. Also spoke about UNRWA
   6. Ask Nicki Haley’s aide if Paul Singer would be willing to fund this, just
       looking for an expression of interest
   7. Get all the Members on the caucus to sign the declaration
   8. Convert declaration into a resolution, or
   9. Principles converted into a letter to President Trump
   10.Work with Sam to get info to Rep. Pettenger
           a. Interested in using IR dossier for hearing or Congressional inquiry
           b. Mobry got the appointment
           c. EJ has good relations with Rep. Pittenger’s office
           d. EJ to be the go between Sam and Rep. Pittenger delivering this information
           e. EJ meet with Rep. Pittenger’s COS
           f. EJ get briefing from Sam and Executive summary for Rep. Pittenger
   11. EJ send numbers to Marnie for check
   12. Cliff and EJ coordinate event with Quilliam in DC

Cliff:
    1. Attending Islamism and work place conference in Paris
    2. Gave a speech that was well received which was filmed
           a. Give Gary, Sam, and Marc a copy of the video clip
    3. FOIA update - DHS gave us some documents and we filed litigation
           a. Sue them. File more docs and briefs.
           b. It is going to be a while before we see results
    4. Kirk language to be put on State Dept. website - Follow up after TG State Dept. See if this
       request was fulfilled check with Kredo
    5. Gregg met with Senator Todd Young and needs the following when Cliff returns from
       vacation
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             a. Any language incorporated for the continuing relations from last year
             b. 6 questions UNRWA and interest in US
             c. Amendment Cliff asked to get through Conference
             d. In one doc 1,2,3
   6.    In touch with John on Vetting working on stuff and contracting Member offices
   7.    Council on sub-committee border security
   8.    Only contacting Members that are considering introducing the bill
   9.    Cliff and EJ coordinate event with Quilliam in DC

Sam:
  1.     Turkey Campaign
  2.     Islamic Relief Dossier being published by December
  3.     Criminal investigation please cc Cliff and Marc
  4.     Gary sent the copy edit
  5.     Get one last unbiased fact check on dossier
             a. Run names by Gregg first
             b. Maybe Jeff from Boston Globe, or
             c. DP editor from the Washington Examiner
             d. Maybe send to outside council
   6.    Marc sign off after he returns
   7.    Get info to Rep. Pettenger
             a. Interested in using IR dossier for hearing or congressional inquiry
             b. Mobry got the appointment
             c. EJ has good relations with the office
             d. EJ to be the go between Sam and Rep. Pittenger delivering this information.
             e. EJ meet with Rep. Pittenger’s COS
             f. EJ get briefing from Sam and create an executive summary for Rep. Pittenger
   8.    Daniel wants a national search for CIN instead of inhouse
             a. Coordinator not to work at MEF acting autonomously with no direct report just
                supervision
             b. Job description in proposal
             c. Most Qualified person to be CEO of CIN which will be an organization on its own
             d. 200k for the first year followed by 150k in the second year an 100k in the third
             e. Manage own money
             f. MEFEF money
             g. Call for applications
             h. MEF hiring committee
             i. Separate entity – temporarily use our 501c
             j. Incubate at MEF and then let it go
             k. Otherwise we must raise 200k to reach our objective
   9.    Counter Islamic Network
             a. 12k each/1k per month for op-eds
             b. Not part of IW
   10.   Got an URDU guy. Someone has translated for us.
   11.   Big Pakistan event making us friends in moderate Muslim circles
   12.   Oren sent a proposal for a Journal on Islamism

Winfield:
  1. Title VI joint statement
  2. House may introduce an education reauthorization before the end of the year
  3. Georgetown
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         a. No update
   4. SFSU
         a. Waiting for Georgetown
   5. Mitchell barn
   6. Andrews attending another evert for us

Garry:
  1. IR copy edit
  2. Nothing big to report
  3. Get Marc reporting requirements
  4. Update meetings

Marc:
  1. Send a note to DP
  2. Marc get copied on every substance related issue

Ashley:
   1. Get all reports from Eli, Alex, and Ashley
   2. Ashley send to Eman missing TV, radio and social media
   3. Alex said they are doing a lot of follow up with Russian media and media in general

Gregg:
   1. Review due Wednesday
   2. Review Mickey and Mida
         a. Ashley will send the info to set up the meeting
   3. IVP ideas in Knesset
   4. Palestinian involvement in academic institutions
   5. Send Michael Lewis mailing list to EJ, Cliff, Lisa, Winfield

Lisa:
   1. Schedule Gary meeting in the office 1-2 pm for Dec 28th DP and GR

Sam, Cliff, EJ:
  1. Mike McCall meeting (Mobry)
  2. EJ check for Congressional Fellow on Islamism that would be in a Member’s
      office
  3. EJ to share proposal of what the position is and description for Donors
  4. Fellow to be the Congressional avenue on Islamist task force.
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   EXHIBIT 30
   Email from
    Plaintiff to
     Roman
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 55 of 175
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 56 of 175




   EXHIBIT 31
    Email from
   Plaintiff to A.
   Morgenstern
          Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 57 of 175
                                                      Monday, March 1, 2021 at 14:26:55 Eastern Standard Time


Subject:    FW: Middle East Forum Ac4on
Date:       Thursday, July 26, 2018 at 1:21:38 PM Eastern Daylight Time
From:       Lisa Barbounis
To:         ari morgenstern
CC:         Gregg Roman
Priority:   High
AEachments: image001.jpg, image002.png, image003.png, image004.png, image005.png, image006.png,
            image007.png, image008.png, image010.jpg, image012.png, image014.png, image016.png,
            image018.png, image020.png, Middle East Forum Ac4on.eml

Hi Ari and Gregg,

So I am supposed to be collecting the documents for MEFA. But I think you and Gregg will need to discuss some of
this and I will compile: Below is the list of things I need with my questions and the original email.

Thanks!

   A. Mailing Address. – Will this be based in DC or Philly? What address are you planning to use?
   B. Director(s). Name of the ini4al directors (if incorporated in Pennsylvania, need to have 1; if in DC, for
      example, would need to have at least 3 directors).
   C. Oﬃcers. Name and 4tle of the ini4al oﬃcers – need a president, secretary and treasurer; can have
      others.
   D. SSN. We will need to list the social security number of one of the oﬃcers on the EIN Applica4on.
   E. AcMviMes/Financials. If MEFA does apply for tax-exemp4on (IRS Form 1024), we will need to include
      detailed descrip4on of the organiza4on’s proposed ac4vi4es, and a budget of revenues/expenses for
      the next three years (and a current balance sheet) in the applica4on.
   F. Corporate Policies. Let me know which policies MEFA would like to adopt, as described above. (in this
      case its below)



Gregg and EJ – it was nice to meet with you last week. Following up on our discussion, we can begin the
process of establishing “Middle East Forum Ac4on” (MEFA) as a 501(c)(4) organiza4on.

A threshold ques4on is in which state the c4 would like to incorporate. FYI, Middle East Forum is
incorporated in Pennsylvania; MEFA could incorporate there as well to maintain consistency of opera4ons
(especially if the organiza4on will have physical presence in PA, since it would be required to qualify in PA in
such a case). If MEFA will have its main oﬃce somewhere else, or if you have ques4ons or would like to
discuss this, please let me know.

Regardless of the state, below are the documents (and informa4on needed) to organize MEFA:

   1. Ar4cles of Incorpora4on – to be ﬁled with the relevant state corporate authority.
   2. Bylaws
   3. Organiza4onal Resolu4ons of the Board – to adopt bylaws, corporate policies, appoint oﬃcers, etc.
         a. Note: if the ini4al directors are known and named in the Ar4cles of Incorpora4on, then we
            would have one set of organiza4onal resolu4ons. If the ini4al directors are not known or named
            in the Ar4cles, then we would have two sets of resolu4ons: an “incorporator” resolu4on to
            appoint the ini4al board once they are known, and then a second “board” resolu4on to take
            other organiza4onal ac4ons.
             Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 58 of 175


   4. Corporate Policies – the organiza4on should adopt at least a conﬂict of interest policy, and poten4ally
      other corporate policies such as a whistleblower policy, a document reten4on policy, and a
      compensa4on policy. I note that Middle East Forum reports that it has these policies in place, and
      MEFA could adopt similar policies.
   5. EIN Applica4on (IRS Form SS-4) – to obtain an employer iden4ﬁca4on number (tax ID) for the
      organiza4on.
   6. No4ce of Intent to Operate as a 501(c)(4) (IRS Form 8976) – to be ﬁled electronically within 60 days of
      forma4on.
   7. Tax-Exempt Applica4on (IRS Form 1024) – we had discussed whether the organiza4on would apply for
      formal tax-exempt recogni4on from the IRS. It is not mandatory for a social welfare organiza4on to
      apply; it instead can “self-declare” as a tax-exempt associa4on under Sec4on 501(c)(4). As we
      discussed, I believe that the upside of applying (certainty of tax-exempt status) outweighs the
      downside (cost), but let me know if you would like to discuss that point further. In either case, the
      organiza4on will need to ﬁle annual tax informa4on returns (IRS Form 990).

In order to prepare these documents, we need the following informa4on:

   G. Mailing Address.
   H. Director(s). Name of the ini4al directors (if incorporated in Pennsylvania, need to have 1; if in DC, for
       example, would need to have at least 3 directors).
    I. Oﬃcers. Name and 4tle of the ini4al oﬃcers – need a president, secretary and treasurer; can have
       others.
   J. SSN. We will need to list the social security number of one of the oﬃcers on the EIN Applica4on.
   K. AcMviMes/Financials. If MEFA does apply for tax-exemp4on (IRS Form 1024), we will need to include
       detailed descrip4on of the organiza4on’s proposed ac4vi4es, and a budget of revenues/expenses for
       the next three years (and a current balance sheet) in the applica4on.
   L. Corporate Policies. Let me know which policies MEFA would like to adopt, as described above.

Note that if MEFA will have paid employees, it likely will need to register with the state/local taxing
authori4es for payroll/withholding taxes. If needed, that is typically handled by the organiza4on’s
accountant; but let me know if you have ques4ons on that.



Sincerely,

Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




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 EXHIBIT 32
Barbounis Dep.
 In O'Brien v.
 MEF at p.20
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                                                                      1


            UNITED STATES DISTRICT COURT

         EASTERN DISTRICT OF PENNSYLVANIA




  MARNIE O'BRIEN,      :
                       :
      Plaintiff,       :
                       :
      v.               :           C.A. No.
                       :           19-06078 JMG
  MIDDLE EAST FORUM,   :
  DANIEL PIPES         :
  (individually), and :
  GREGG ROMAN          :
  (individually),      :
                       :
      Defendants.      :
  ______________________
                       :
  GREGG ROMAN,         :
                       :
      Counterclaim and :
      Third-Party      :
      Plaintiff,       :
                       :
      v.               :
                       :
  MARNIE O'BRIEN,      :
                       :
      Counterclaim     :
      Defendant.       :


                            - - -




                 WILCOX & FETZER
         Registered Professional Reporters
                1330 King Street
             Wilmington, Delaware 19801
                 (302) 655-0477
     Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 61 of 175

                                                                           2


1                       Videotaped deposition of LISA

 2     REYNOLDS BARBOUNIS taken via remote

 3     videoconferencing of all participants

 4     beginning at 9:44 a.m., on Friday,

 5     January 8, 2021, before Gloria M.

 6     D'Amore, Registered Professional Reporter

 7     and Notary Public.

 8

 9                            - - -

10     APPEARANCES:

11
             ERICA A. SHIKUNOV, ESQUIRE
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               1835 Market Street - Suite 2950
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15             and Counterclaim Defendant,
               Marnie O'Brien
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               seth@dereksmithlaw.com
20             (215)-391-4790
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21

22

23

24
     Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 62 of 175

                          LISA REYNOLDS BARBOUNIS                          20


 1        my mind, like, oh, Marnie was bad with

 2        payroll.      Like, no.

 3           Q.    Okay.     And in February of 2018,

 4        you did not like Ms. O'Brien.

 5                       Would that be correct?

 6           A.    It was always -- it was always a

 7        love-hate relationship with Marnie.

 8        There -- there were parts of Marnie

 9        that, like, I really liked.             I admired.

10        She was cool and pretty and smart.

11        And, you know, she -- she was -- there

12        were parts that I liked.           And I wanted

13        to, like, be cool with Marnie.

14                       And, then, there were other

15        times where I couldn't stand her.               I'm

16        not going to lie.         Do you know what I

17        mean?    Like, that was true.           But that

18        wasn't really her fault, like, in -- in

19        hindsight.      It was Gregg pitting us

20        against each other like he always did.

21                       So, no, I -- I don't want to

22        say that, like, I didn't -- I hated

23        her, or I didn't like her.            That's very

24        much true at some certain points.               But
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    EXHIBIT 33
    Message from
     Plaintiff to
      Roman
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 64 of 175
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   EXHIBIT 34
   Message from
   Plaintiff to J.
     Reynolds
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 66 of 175
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 67 of 175




 EXHIBIT 35
 Message from
 Plaintiff to T.
   McNulty
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 68 of 175
 Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 69 of 175




  EXHIBIT 36
Message from M.
O'Brien to Roman
          Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 70 of 175
                                                         Monday, March 1, 2021 at 14:48:46 Eastern Standard Time


Subject:    RE: Weekly Schedule
Date:       Saturday, September 15, 2018 at 12:57:00 PM Eastern Daylight Time
From:       Marnie Meyer
To:         Gregg Roman
ADachments: image013.jpg, image014.png, image015.png, image016.png, image017.png, image018.png

Because I didn't have my schedule in. She said she wasn't sending ot because MaS and I never give her our
schedules. (Not true, I've been preSy good about it not perfect but preSy good)

I said that it was BS. It was her responsibility and she needed to see that it was completed and if MaS and I don't
send it in she should chase it sown or leave us blank and let us deal with it.

And she was completely hosPle the enPre Pme she was in my oﬃce. I know it will blow over and we will be ﬁne but
I'd like to discuss that whe situaPon further with you and without emoPon.


Sent from my Verizon 4G LTE smartphone



-------- Original message --------
From: Gregg Roman <Roman@meforum.org>
Date: 9/14/18 6:29 PM (GMT-05:00)
To: Marnie Meyer <meyer@meforum.org>
Subject: Fwd: Weekly Schedule

Why didn’t she include you?

Gregg Roman

Begin forwarded message:


       From: Lisa Barbounis <Barbounis@meforum.org>
       Date: September 14, 2018 at 5:24:12 PM EDT
       To: Gregg Roman <Roman@meforum.org>, MaShew BenneS <BenneS@meforum.org>, Marnie Meyer
       <meyer@meforum.org>, Tricia McNulty <McNulty@meforum.org>, Tricia McNulty
       <McNulty@meforum.org>, Caitríona Brady <brady@meforum.org>, Thelma Prosser
       <prosser@meforum.org>, Stacey Roman <Stacey@meforum.org>
       Subject: Weekly Schedule


       DP is in the oﬃce on Tuesday. MaS and Gregg will be out on Wednesday
                                  OFFICE STAFF WEEKLY SCHEDULE September 17-21
                              17               18                 19            20                              21
                           Monday           Tuesday          Wednesday       Thursday                         Friday
               DP                       IN OFFICE
             Gregg     OFFICE           OFFICE unPl 2       OFF           OFFICE                        OFFICE
           Delaney 9:00-5:00PM          9:00-5:00PM         9:00-5:00PM   9:00-5:00PM                   7:00-3:00PM
            Marnie
             MaS       10:00-6:00PM     10:00-6:00PM        OFF           10:00-6:00PM                  10:00-6:00PM
            Stacey     8:30-4:30PM      8:30-4:30PM         8:30-4:30PM   8:00-4:00PM                   8:30-4:30PM
            Thelma     OFF              8:00-4:00PM         8:00-4:00PM   8:00-4:00PM                   OFF


                                                                                                                      Page 1 of 2
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     Tricia     8:30-4:30PM     8:30-4:30PM   8:30-4:30PM   8:30-4:30PM     8:00-2:00PM
      Lisa      8:30-4:30PM     9:00-5:00PM   8:00-4:00PM   9:30-5:30PM   9:30-5:30PM
   Caitríona    8:30-4:30PM     8:30-4:30PM   8:30-4:30PM   8:30-4:30PM   7:00-3:00PM

Sincerely,
Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




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                                                                                  Page 2 of 2
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  EXHIBIT 37
  Message from
  Plaintiff to T.
    McNulty
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 73 of 175
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 74 of 175




 EXHIBIT 38
 Message from
 Plaintiff to V.
  Barbounis
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 75 of 175
                                          From: +12159102154 Me (owner)


                                          I Planned the whole entire Tommy thing in London. I invited tricia because I wanted
                                          company. Now the president thinks both of us planned it. But it’s mine. Now we are doing
                                          another event and he included her in the email. So I responded with my ideas and took her
                                          off the chain because she didn’t do a thing with the first 2!!!!! I told her about my suggestions
                                          to see if they were good and then she goes back to her office and sends this......



                                          I was somehow taken off the email Lisa just sent but she did tell me about it. I think it is a
                                          great idea to make this more structured as she mentioned. I also think in addition to an on-
                                          stage interview with Tommy, we could make this more in line with a how a press conference
                                          would run rather than a rally, and take some questions from journalists who are there (pre-
                                          screened and planned would probably be best).

                                          Status: Sent
                                          Delivered: 10/4/2018 2:00:10 PM(UTC-4)

                                                                                                                            10/4/2018 2:00:10 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   I’m pissed
                                                                                   Status: Sent
                                                                                   Delivered: 10/4/2018 2:00:15 PM(UTC-4)

                                                                                                                            10/4/2018 2:00:20 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Babe this is corporate life, try to keep it cool. It’s your project, everyone else knows it.
Remember She loved being part of the ride (bc of you) and the most important person in you
company asked for her opinion, so it’s natural that she wants to be heard and included on
the coolest project. Be the leader and gracious and when it’s time to take credit (not on an
email string) do so. Greg also knows who is to credit even though he also likes to claim it
was him
Status: Read
Read: 10/4/2018 2:10:02 PM(UTC-4)

                                                                              10/4/2018 2:09:52 PM(UTC-4)




From: +12154391002 Vasili Barbounis

She’s your friend. That’s more important
Status: Read
Read: 10/4/2018 2:10:19 PM(UTC-4)

                                      10/4/2018 2:10:13 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   She’s lucky I brought her ass to London
                                                                                   Status: Sent
                                                                                   Delivered: 10/4/2018 2:10:15 PM(UTC-4)

                                                                                                                            10/4/2018 2:10:20 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   He didn’t ask for her opinion.
                                                                                   Status: Sent
                                                                                   Delivered: 10/4/2018 2:10:39 PM(UTC-4)

                                                                                                                            10/4/2018 2:10:39 PM(UTC-4)




                                                                                                                                                          1337
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 76 of 175
                                          From: +12159102154 Me (owner)

                                          He said maybe we should conceptualize it first. I thought I would take the reigns because it
                                          was my project and responded. If she would have been included on the email I wrote most
                                          of that in there. This is mine and she needs to back off.
                                          Status: Sent
                                          Delivered: 10/4/2018 2:12:06 PM(UTC-4)

                                                                                                                            10/4/2018 2:12:05 PM(UTC-4)




From: +12154391002 Vasili Barbounis

I don’t know how to advise you on this one. She may already be crying
Status: Read
Read: 10/4/2018 2:14:09 PM(UTC-4)

                                                            10/4/2018 2:13:27 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   She doesn’t know I’m mad
                                                                                   Status: Sent
                                                                                   Delivered: 10/4/2018 2:14:13 PM(UTC-4)

                                                                                                                            10/4/2018 2:14:13 PM(UTC-4)




                                                         From: +12159102154 Me (owner)

                                                         She has no clue I’m still being super nice while holding in my lisa rage
                                                         Status: Sent
                                                         Delivered: 10/4/2018 2:14:38 PM(UTC-4)

                                                                                                                            10/4/2018 2:14:37 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Hopefully it will pass. Just make it happen and hopefully Tommy will communicate you are
his point person
Status: Read
Read: 10/4/2018 2:18:21 PM(UTC-4)

                                                                            10/4/2018 2:16:03 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   He’s only communicating with me
                                                                                   Status: Sent
                                                                                   Delivered: 10/4/2018 2:18:43 PM(UTC-4)

                                                                                                                            10/4/2018 2:18:42 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   No one else
                                                                                   Status: Sent
                                                                                   Delivered: 10/4/2018 2:18:46 PM(UTC-4)

                                                                                                                            10/4/2018 2:18:46 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Good
Status: Read
Read: 10/4/2018 2:21:06 PM(UTC-4)

                                      10/4/2018 2:19:08 PM(UTC-4)




                                                                                                                                                          1338
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 77 of 175
                                                                               From: +12159102154 Me (owner)

                                                                               But Daniel doesn’t know I do anything
                                                                               Status: Sent
                                                                               Delivered: 10/4/2018 2:21:18 PM(UTC-4)

                                                                                                                        10/4/2018 2:21:23 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Well it may be time that he knows
Status: Read
Read: 10/4/2018 3:09:12 PM(UTC-4)

                                      10/4/2018 2:37:11 PM(UTC-4)




                                                                    From: +12159102154 Me (owner)

                                                                    That’s what I’m saying. It was my moment to shine
                                                                    Status: Sent
                                                                    Delivered: 10/4/2018 3:09:22 PM(UTC-4)

                                                                                                                        10/4/2018 3:09:21 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Be patient, you don’t need to worry about Trish but rather Gregg
Status: Read
Read: 10/4/2018 3:30:21 PM(UTC-4)

                                                       10/4/2018 3:11:37 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               Don’t forget my hospital record CD
                                                                               Status: Sent
                                                                               Delivered: 10/4/2018 4:36:11 PM(UTC-4)

                                                                                                                        10/4/2018 4:36:17 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               You still coming over tonight
                                                                               Status: Sent
                                                                               Delivered: 10/4/2018 4:42:58 PM(UTC-4)

                                                                                                                        10/4/2018 4:43:03 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               Don’t forget my hospital record CD
                                                                               Status: Sent
                                                                               Delivered: 10/4/2018 6:07:12 PM(UTC-4)

                                                                                                                        10/4/2018 6:07:12 PM(UTC-4)




From: +12154391002 Vasili Barbounis

I won’t, i got a bunch of calls right before six so i need to send emails before leaving. I will
get hospital record and groceries
Status: Read
Read: 10/4/2018 6:11:31 PM(UTC-4)

                                                                          10/4/2018 6:08:10 PM(UTC-4)




                                                                                                                                                      1339
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    EXHIBIT 39
    Message from
    Plaintiff to M.
       O'Brien
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 79 of 175
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     EXHIBIT 40
     Message from
      Plaintiff to
       Roman
         Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 81 of 175


Subject:    Today
Date:       Tuesday, October 30, 2018 at 4:47:29 PM Eastern Daylight Time
From:       Lisa Barbounis
To:         Gregg Roman
AEachments: image013.jpg, image014.png, image015.png, image016.png, image017.png, image018.png

Gregg,
In response to what happened today I wanted to let you know what has transpired and how I am feeling.
I took this job because I was told it was ﬂexible and there was a great culture here. What has transpired over
the last year has been anything but. I am constantly monitored and micromanaged.
Today around noon I was having a conversaTon about the Tommy Robinson event with Tricia prior to our call.
I shut the door because I am constantly being reprimanded for being loud and was trying to be respecUul. (I
would like to note that the only person who has an issue with my loudness is Marnie) Marnie proceeded to
ask MaX why we were in my oﬃce with the door closed making a big deal about nothing. This is not the ﬁrst
occurrence. I am constantly monitored and singled out about my Tme in the oﬃce.
I take a shuXle to the oﬃce in the morning and it does not always running on schedule. I also have two small
children that occasionally make morning departures diﬃcult. But you can guarantee that once every two
weeks Marnie calls me in her oﬃce to speak to me about my Tme. She claims you view her as a manager and
she needs to deal with people being late. Conveniently forgoXen are the late night, weekend, early morning
hours spent working at home. You has always said not to be concerned about Tme as long as the work is
being done.
I feel that Marnie targets me and has made it her mission to “reel me in” because she has said as much.
AddiTonally, when others are being loud no one, including Marnie, ever says a word to them. As a prime
example, yesterday as I was wriTng a leXer for Lord Pearson mulTple people were outside my oﬃce being
incredibly loud. I said nothing, and Marnie said nothing. However, today when I was irritated about a work
situaTon and ﬁnished my sentence as Tricia walked away, of course Marnie didn’t wait two seconds to come
into my oﬃce and reprimand me. I repeated these same concerns I am staTng now - that she only targets me.
She proceeded to march into MaX’s oﬃce and tell him he “has a big mouth” and led the oﬃce slamming all
the doors on the way out.
I know that I am being targeted. We have one employee who comes in late and leaves early every single day,
and no one says a word. When others are loud no one says a word. There is a clear and obvious double
standard and I am becoming very uncomfortable. I am held to one standard and everyone else is held to
another.
We all know that this is not the ﬁrst occurrence of her singling me out. I am fearful that with Marnie as the
HR person my job is in jeopardy. I believe this because when ader we were in your oﬃce talking about my
posiTon a few weeks ago Marnie said to me “you are lucky its not me because I would not have given that to
you”. She also said, that she told you, that you should “deal with my aetude before oﬀering me any
addiTonal work”. I can’t work with my HR manager acTng as my boss and monitoring every liXle thing I do.
I have no recourse because my issue is with the HR manager.
Sincerely,
Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




                                                                                                         Page 1 of 2
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   EXHIBIT 41
   Message from
    Roman to
     Plaintiff
          Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 84 of 175


Subject:    Re: Today
Date:       Tuesday, October 30, 2018 at 5:08:45 PM Eastern Daylight Time
From:       Gregg Roman
To:         Lisa Barbounis
CC:         Marc Fink
AEachments: image013.jpg, image014.png, image014.png, image015.png, image016.png, image016.png,
            image017.png, image018.png

Lisa, thanks for wriOng to me about this issue. I’m looping in Marc, too.

We will keep all communicaOons regarding this issue/complaint conﬁdenOal and private, per our HR policies.

A few iniOal thoughts:

1. Please idenOfy the employee arriving late and leaving early; that’s something we would like to address
immediately.

2. Our HR procedures, as wriYen in a memo a few months ago and the personnel manual, allow for you to bypass HR
if your complaint has to do with them. You did the right thing coming to me.

3. Are you available to discuss this on Friday when I’m back in, or would you like to meet tomorrow? I would like both
Marc and me to have the chance to speak with you further about the issues you bring up below.

Please write back to both of us if you have any quesOons.

Best,

Gregg

Gregg Roman

On Oct 30, 2018, at 1:47 PM, Lisa Barbounis <Barbounis@meforum.org> wrote:


        Gregg,

        In response to what happened today I wanted to let you know what has transpired and how I
        am feeling.

        I took this job because I was told it was ﬂexible and there was a great culture here. What has
        transpired over the last year has been anything but. I am constantly monitored and
        micromanaged.

        Today around noon I was having a conversaOon about the Tommy Robinson event with Tricia
        prior to our call. I shut the door because I am constantly being reprimanded for being loud and
        was trying to be respecbul. (I would like to note that the only person who has an issue with my
        loudness is Marnie) Marnie proceeded to ask MaY why we were in my oﬃce with the door
        closed making a big deal about nothing. This is not the ﬁrst occurrence. I am constantly
        monitored and singled out about my Ome in the oﬃce.

        I take a shuYle to the oﬃce in the morning and it does not always running on schedule. I also

                                                                                                                  Page 1 of 2
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have two small children that occasionally make morning departures diﬃcult. But you can
guarantee that once every two weeks Marnie calls me in her oﬃce to speak to me about my
Ome. She claims you view her as a manager and she needs to deal with people being late.
Conveniently forgoYen are the late night, weekend, early morning hours spent working at
home. You has always said not to be concerned about Ome as long as the work is being done.

I feel that Marnie targets me and has made it her mission to “reel me in” because she has said
as much. AddiOonally, when others are being loud no one, including Marnie, ever says a word to
them. As a prime example, yesterday as I was wriOng a leYer for Lord Pearson mulOple people
were outside my oﬃce being incredibly loud. I said nothing, and Marnie said nothing. However,
today when I was irritated about a work situaOon and ﬁnished my sentence as Tricia walked
away, of course Marnie didn’t wait two seconds to come into my oﬃce and reprimand me. I
repeated these same concerns I am staOng now - that she only targets me. She proceeded to
march into MaY’s oﬃce and tell him he “has a big mouth” and lek the oﬃce slamming all the
doors on the way out.

I know that I am being targeted. We have one employee who comes in late and leaves early
every single day, and no one says a word. When others are loud no one says a word. There is a
clear and obvious double standard and I am becoming very uncomfortable. I am held to one
standard and everyone else is held to another.

We all know that this is not the ﬁrst occurrence of her singling me out. I am fearful that with
Marnie as the HR person my job is in jeopardy. I believe this because when aker we were in
your oﬃce talking about my posiOon a few weeks ago Marnie said to me “you are lucky its not
me because I would not have given that to you”. She also said, that she told you, that you
should “deal with my altude before oﬀering me any addiOonal work”. I can’t work with my HR
manager acOng as my boss and monitoring every liYle thing I do.

I have no recourse because my issue is with the HR manager.


Sincerely,

Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409

<image013.jpg>

     <image015.png>          <image017.png> <image018.png>
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     EXHIBIT 42
     Message from
      Plaintiff to
       Roman
          Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 87 of 175


Subject:    RE: Today
Date:       Tuesday, October 30, 2018 at 5:30:03 PM Eastern Daylight Time
From:       Lisa Barbounis
To:         Gregg Roman
CC:         Marc Fink
A8achments: image001.png, image002.png

Oh and if you want to know what my exact sentence was…
I said, “in all my years working for Congress I have never experienced this. This is a shit show.” I was referencing the
inability of Gosar’s Congressional office to comprehend the visa situation. I don’t know if that is because Cliff didn’t
explain it well, or understand it himself, or because they just don’t understand immigration and visitor visas. Either
way it was super frustrating.
I am not intentionally loud. I have a voice that carries. I don’t think I should be penalized for that.
From: Gregg Roman
Sent: Tuesday, October 30, 2018 5:09 PM
To: Lisa Barbounis <Barbounis@meforum.org>
Cc: Marc Fink <ﬁnk@meforum.org>
Subject: Re: Today
Lisa, thanks for wriPng to me about this issue. I’m looping in Marc, too.
We will keep all communicaPons regarding this issue/complaint conﬁdenPal and private, per our HR policies.
A few iniPal thoughts:
1. Please idenPfy the employee arriving late and leaving early; that’s something we would like to address
immediately.
2. Our HR procedures, as wriYen in a memo a few months ago and the personnel manual, allow for you to
bypass HR if your complaint has to do with them. You did the right thing coming to me.
3. Are you available to discuss this on Friday when I’m back in, or would you like to meet tomorrow? I would
like both Marc and me to have the chance to speak with you further about the issues you bring up below.
Please write back to both of us if you have any quesPons.
Best,
Gregg

Gregg Roman

On Oct 30, 2018, at 1:47 PM, Lisa Barbounis <Barbounis@meforum.org> wrote:

       Gregg,
       In response to what happened today I wanted to let you know what has transpired and how I
       am feeling.
       I took this job because I was told it was ﬂexible and there was a great culture here. What has
       transpired over the last year has been anything but. I am constantly monitored and
       micromanaged.
       Today around noon I was having a conversaPon about the Tommy Robinson event with Tricia
       prior to our call. I shut the door because I am constantly being reprimanded for being loud and
       was trying to be respecbul. (I would like to note that the only person who has an issue with my
       loudness is Marnie) Marnie proceeded to ask MaY why we were in my oﬃce with the door
       closed making a big deal about nothing. This is not the ﬁrst occurrence. I am constantly
       monitored and singled out about my Pme in the oﬃce.
       I take a shuYle to the oﬃce in the morning and it does not always running on schedule. I also
       have two small children that occasionally make morning departures diﬃcult. But you can
       guarantee that once every two weeks Marnie calls me in her oﬃce to speak to me about my

                                                                                                                   Page 1 of 2
   Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 88 of 175


Pme. She claims you view her as a manager and she needs to deal with people being late.
Conveniently forgoYen are the late night, weekend, early morning hours spent working at home.
You has always said not to be concerned about Pme as long as the work is being done.
I feel that Marnie targets me and has made it her mission to “reel me in” because she has said
as much. AddiPonally, when others are being loud no one, including Marnie, ever says a word to
them. As a prime example, yesterday as I was wriPng a leYer for Lord Pearson mulPple people
were outside my oﬃce being incredibly loud. I said nothing, and Marnie said nothing. However,
today when I was irritated about a work situaPon and ﬁnished my sentence as Tricia walked
away, of course Marnie didn’t wait two seconds to come into my oﬃce and reprimand me. I
repeated these same concerns I am staPng now - that she only targets me. She proceeded to
march into MaY’s oﬃce and tell him he “has a big mouth” and lek the oﬃce slamming all the
doors on the way out.
I know that I am being targeted. We have one employee who comes in late and leaves early
every single day, and no one says a word. When others are loud no one says a word. There is a
clear and obvious double standard and I am becoming very uncomfortable. I am held to one
standard and everyone else is held to another.
We all know that this is not the ﬁrst occurrence of her singling me out. I am fearful that with
Marnie as the HR person my job is in jeopardy. I believe this because when aker we were in your
oﬃce talking about my posiPon a few weeks ago Marnie said to me “you are lucky its not me
because I would not have given that to you”. She also said, that she told you, that you should
“deal with my altude before oﬀering me any addiPonal work”. I can’t work with my HR
manager acPng as my boss and monitoring every liYle thing I do.
I have no recourse because my issue is with the HR manager.
Sincerely,
Lisa Barbounis
Executive Liaison
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409
<image013.jpg>

    <image015.png>         <image017.png> <image018.png>
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  EXHIBIT 43
  Message from
O'Brien to Roman
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 90 of 175
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    EXHIBIT 44
Message from Plaintiff to J.
        Reynolds
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 92 of 175
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EXHIBIT 45
Message from
Plaintiff to D.
   Thomas
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 94 of 175
From: +12154391002 Vasili Barbounis

Putting kids to
Status: Read
Read: 10/29/2018 8:55:35 PM(UTC-4)

                                      10/29/2018 8:55:32 PM(UTC-4)




                                                                             From: +12159102154 Me (owner)

                                                                             I’m locked out
                                                                             Status: Sent
                                                                             Delivered: 10/29/2018 8:55:41 PM(UTC-4)

                                                                                                                       10/29/2018 8:55:41 PM(UTC-4)




From: +18562871602 David Reynolds

How’s my sister
Status: Read
Read: 10/30/2018 1:21:40 PM(UTC-4)

                                     10/30/2018 12:51:43 PM(UTC-4)




                                                                         From: +12159102154 Me (owner)

                                                                         I’m quitting on December 1 so we need a plan
                                                                        Status: Sent
                                                                        Delivered: 10/30/2018 3:19:58 PM(UTC-4)

                                                                                                                       10/30/2018 3:19:57 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Omg
Status: Read
Read: 10/30/2018 3:20:09 PM(UTC-4)

                                      10/30/2018 3:20:09 PM(UTC-4)




                                                                     From: +12159102154 Me (owner)

                                                                     If I didn’t have this Tommy thing I’d quit today
                                                                     Status: Sent
                                                                     Delivered: 10/30/2018 3:20:32 PM(UTC-4)

                                                                                                                       10/30/2018 3:20:32 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Dog food
Status: Read
Read: 10/30/2018 5:24:16 PM(UTC-4)

                                      10/30/2018 5:08:33 PM(UTC-4)




                                                                             From: +12159102154 Me (owner)

                                                                             Phone broken.
                                                                             Status: Sent
                                                                             Delivered: 10/30/2018 6:25:10 PM(UTC-4)

                                                                                                                       10/30/2018 6:25:09 PM(UTC-4)




                                                                                                                                                      1398
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  EXHIBIT 46
   Messages
between Plaintiff
 and D. Thomas
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 96 of 175
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  EXHIBIT 47
  Deposition of
  Marnie Meyer
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 98 of 175
Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 99 of 175




 EXHIBIT 48
 Message from
 Plaintiff to V.
  Barbounis
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 100 of 175
From: +18562871602 David Reynolds

One nice gift let
Person maybe
Status: Read
Read: 11/1/2018 1:31:03 PM(UTC-4)

                                      11/1/2018 1:30:36 PM(UTC-4)




From: +12677618622 Dad

Pollyanna unless you’re younger than 5
Status: Read
Read: 11/1/2018 2:08:25 PM(UTC-4)

                                      11/1/2018 2:07:09 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   Pipes just got in
                                                                                   Status: Sent
                                                                                   Delivered: 11/1/2018 3:17:22 PM(UTC-4)

                                                                                                                            11/1/2018 3:17:21 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Oh boy. Nervous for you
Status: Read
Read: 11/1/2018 3:20:03 PM(UTC-4)

                                      11/1/2018 3:19:59 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   Me too.
                                                                                   Status: Sent
                                                                                   Delivered: 11/1/2018 3:20:07 PM(UTC-4)

                                                                                                                            11/1/2018 3:20:07 PM(UTC-4)




                                                                                   From: +12159102154 Me (owner)

                                                                                   Marnie is in there
                                                                                   Status: Sent
                                                                                   Delivered: 11/1/2018 3:20:12 PM(UTC-4)

                                                                                                                            11/1/2018 3:20:11 PM(UTC-4)




From: +12154391002 Vasili Barbounis

That helps pave the way
Status: Read
Read: 11/1/2018 3:20:51 PM(UTC-4)

                                      11/1/2018 3:20:30 PM(UTC-4)




                                          From: +12159102154 Me (owner)

                                          Dr. Pipes just told me he put my name in the Tommy press release and Gregg said to take it
                                          out so I Don’t keep focusing on the Tommy stuff
                                          Status: Sent
                                          Delivered: 11/1/2018 4:00:54 PM(UTC-4)

                                                                                                                            11/1/2018 4:00:53 PM(UTC-4)




                                                                                                                                                          1412
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 101 of 175
From: +12154391002 Vasili Barbounis

Fucker
Status: Read
Read: 11/1/2018 4:01:35 PM(UTC-4)

                                      11/1/2018 4:01:32 PM(UTC-4)




From: +12154391002 Vasili Barbounis

You are awesome and he knows it
Status: Read
Read: 11/1/2018 4:01:44 PM(UTC-4)

                                      11/1/2018 4:01:44 PM(UTC-4)




                                                                          From: +12159102154 Me (owner)

                                                                          I FUCKING HATE HIM. HES A HORRIBLE PERSON
                                                                          Status: Sent
                                                                          Delivered: 11/1/2018 4:01:52 PM(UTC-4)

                                                                                                                      11/1/2018 4:01:51 PM(UTC-4)




From: +12154391002 Vasili Barbounis

And he is scared of you too. I know how it feels lol
Status: Read
Read: 11/1/2018 4:03:31 PM(UTC-4)

                                               11/1/2018 4:02:10 PM(UTC-4)




From: +12154391002 Vasili Barbounis

It’s sounds like he is a terrible guy. Was pipes supportive?
Status: Read
Read: 11/1/2018 4:03:31 PM(UTC-4)

                                                     11/1/2018 4:02:46 PM(UTC-4)




                                                                             From: +12159102154 Me (owner)

                                                                             I don’t know.
                                                                             Status: Sent
                                                                             Delivered: 11/1/2018 4:03:37 PM(UTC-4)

                                                                                                                      11/1/2018 4:03:37 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Really?
Status: Read
Read: 11/1/2018 4:03:57 PM(UTC-4)

                                      11/1/2018 4:03:53 PM(UTC-4)




                                                                             From: +12159102154 Me (owner)

                                                                             I don’t know.
                                                                             Status: Sent
                                                                             Delivered: 11/1/2018 4:04:02 PM(UTC-4)

                                                                                                                      11/1/2018 4:04:02 PM(UTC-4)




                                                                                                                                                    1413
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 102 of 175
                                                                             From: +12159102154 Me (owner)

                                                                             I was calm
                                                                             Status: Sent
                                                                             Delivered: 11/1/2018 4:04:06 PM(UTC-4)

                                                                                                                      11/1/2018 4:04:05 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Good
Status: Read
Read: 11/1/2018 4:04:51 PM(UTC-4)

                                      11/1/2018 4:04:10 PM(UTC-4)




From: +12154391002 Vasili Barbounis
Status: Read
Read: 11/1/2018 4:04:58 PM(UTC-4)

                                      11/1/2018 4:04:58 PM(UTC-4)




                                                                    From: +12159102154 Me (owner)

                                                                    I got teary eyed when I said I love working here
                                                                    Status: Sent
                                                                    Delivered: 11/1/2018 4:05:14 PM(UTC-4)

                                                                                                                      11/1/2018 4:05:14 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Good
Status: Read
Read: 11/1/2018 4:05:24 PM(UTC-4)

                                      11/1/2018 4:05:23 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Want me to pick you up?
Status: Read
Read: 11/1/2018 4:35:33 PM(UTC-4)

                                      11/1/2018 4:35:23 PM(UTC-4)




                                                                             From: +12159102154 Me (owner)

                                                                             No. Go get the kids
                                                                             Status: Sent
                                                                             Delivered: 11/1/2018 4:35:41 PM(UTC-4)

                                                                                                                      11/1/2018 4:35:40 PM(UTC-4)




                                                                             From: +12159102154 Me (owner)

                                                                             I’m devastated
                                                                             Status: Sent
                                                                             Delivered: 11/1/2018 4:35:46 PM(UTC-4)

                                                                                                                      11/1/2018 4:35:46 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Why what else happened?
Status: Read
Read: 11/1/2018 4:36:08 PM(UTC-4)

                                      11/1/2018 4:36:08 PM(UTC-4)

                                                                                                                                                    1414
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 103 of 175
                                                            From: +12159102154 Me (owner)

                                                            He’s going to reprimand Gregg and we all stay and work for him
                                                            Status: Sent
                                                            Delivered: 11/1/2018 4:36:40 PM(UTC-4)

                                                                                                                        11/1/2018 4:36:40 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Figured
Status: Read
Read: 11/1/2018 4:37:06 PM(UTC-4)

                                      11/1/2018 4:37:04 PM(UTC-4)




From: +12154391002 Vasili Barbounis

I have my joint card and i have no gas
Status: Read
Read: 11/1/2018 4:59:57 PM(UTC-4)

                                      11/1/2018 4:51:52 PM(UTC-4)




From: +12154391002 Vasili Barbounis

You have
Status: Read
Read: 11/1/2018 4:59:57 PM(UTC-4)

                                      11/1/2018 4:51:59 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Need $50 in joint and i will replace
Status: Read
Read: 11/1/2018 4:59:57 PM(UTC-4)

                                      11/1/2018 4:52:38 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               In
                                                                               Status: Sent
                                                                               Delivered: 11/1/2018 5:00:45 PM(UTC-4)

                                                                                                                        11/1/2018 5:00:44 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Need funds ASAP
Status: Read
Read: 11/1/2018 5:16:39 PM(UTC-4)

                                      11/1/2018 5:07:50 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               I put them in
                                                                               Status: Sent
                                                                               Delivered: 11/1/2018 5:16:44 PM(UTC-4)

                                                                                                                        11/1/2018 5:16:43 PM(UTC-4)




                                                                                                                                                      1415
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 104 of 175
From: +12154391002 Vasili Barbounis

You taking some time to yourself?
Status: Read
Read: 11/1/2018 6:34:30 PM(UTC-4)

                                       11/1/2018 6:29:13 PM(UTC-4)




                                                                         From: +12159102154 Me (owner)

                                                                         Yes. I’ll be home. I might have a great plan
                                                                        Status: Sent
                                                                        Delivered: 11/1/2018 6:34:53 PM(UTC-4)

                                                                                                                           11/1/2018 6:34:52 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Oh yeah?
Status: Read
Read: 11/1/2018 6:35:17 PM(UTC-4)

                                       11/1/2018 6:35:17 PM(UTC-4)




                                                                                From: +12159102154 Me (owner)

                                                                                Yes. I’m very sad but am planning.
                                                                                Status: Sent
                                                                                Delivered: 11/1/2018 6:35:47 PM(UTC-4)

                                                                                                                           11/1/2018 6:35:47 PM(UTC-4)




From: +12154391002 Vasili Barbounis

We are in the park w boog
Status: Read
Read: 11/1/2018 6:54:55 PM(UTC-4)

                                       11/1/2018 6:48:12 PM(UTC-4)




                                                                     From: +12159102154 Me (owner)

                                                                     I walked home on most there I’m at Fairmount Avenue
                                                                     Status: Sent
                                                                     Delivered: 11/1/2018 7:48:16 PM(UTC-4)

                                                                                                                           11/1/2018 7:48:16 PM(UTC-4)




                                                                                From: +12159102154 Me (owner)
                                                                                Attachments:




                                                                                    Size: 1373678
                                                                                    File name: IMG_5219.HEIC
                                                                                    IMG_5219.HEIC

                                                                                Status: Sent
                                                                                Delivered: 11/2/2018 12:56:12 PM(UTC-4)

                                                                                                                          11/2/2018 12:56:10 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Seriously
Status: Read
Read: 11/2/2018 12:57:21 PM(UTC-4)

                                      11/2/2018 12:57:02 PM(UTC-4)

                                                                                                                                                         1416
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 105 of 175
                                                                      From: +12159102154 Me (owner)

                                                                      After the kids go to bed can I go out with Tricia?
                                                                      Status: Sent
                                                                      Delivered: 11/2/2018 6:53:59 PM(UTC-4)

                                                                                                                          11/2/2018 6:53:59 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Yes, our team picture took forever!
Status: Read
Read: 11/2/2018 7:09:44 PM(UTC-4)

                                      11/2/2018 6:58:56 PM(UTC-4)




                                                                                 From: +12159102154 Me (owner)

                                                                                 No worries
                                                                                 Status: Sent
                                                                                 Delivered: 11/2/2018 7:09:50 PM(UTC-4)

                                                                                                                          11/2/2018 7:09:49 PM(UTC-4)




                                                                                 From: +12159102154 Me (owner)

                                                                                 All good here
                                                                                 Status: Sent
                                                                                 Delivered: 11/2/2018 7:09:53 PM(UTC-4)

                                                                                                                          11/2/2018 7:09:52 PM(UTC-4)




                                                                                 From: +12159102154 Me (owner)

                                                                                 No rush for me
                                                                                 Status: Sent
                                                                                 Delivered: 11/2/2018 7:10:02 PM(UTC-4)

                                                                                                                          11/2/2018 7:10:02 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Ok good
Status: Read
Read: 11/2/2018 7:10:05 PM(UTC-4)

                                      11/2/2018 7:10:04 PM(UTC-4)




                                                    From: +12159102154 Me (owner)

                                                    Do you know what time you will be home? No rush just trying to figure out Jolie
                                                    Status: Sent
                                                    Delivered: 11/2/2018 7:17:01 PM(UTC-4)

                                                                                                                          11/2/2018 7:17:01 PM(UTC-4)




From: +12154391002 Vasili Barbounis

At Logan circle
Status: Read
Read: 11/2/2018 7:25:28 PM(UTC-4)

                                      11/2/2018 7:17:30 PM(UTC-4)




                                                                                                                                                        1417
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 106 of 175
                                                                               From: +12159102154 Me (owner)

                                                                               You out?
                                                                               Status: Sent
                                                                               Delivered: 11/2/2018 11:30:57 PM(UTC-4)

                                                                                                                         11/2/2018 11:30:57 PM(UTC-4)




From: +18562871602 David Reynolds

No in bed already
Status: Read
Read: 11/2/2018 11:36:16 PM(UTC-4)

                                     11/2/2018 11:34:05 PM(UTC-4)




From: +18562871602 David Reynolds

You having fun
Status: Read
Read: 11/2/2018 11:36:16 PM(UTC-4)

                                     11/2/2018 11:34:11 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               Ya. Drinkers
                                                                               Status: Sent
                                                                               Delivered: 11/2/2018 11:36:24 PM(UTC-4)

                                                                                                                         11/2/2018 11:36:24 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               I’m out with Tricia
                                                                               Status: Sent
                                                                               Delivered: 11/2/2018 11:37:09 PM(UTC-4)

                                                                                                                         11/2/2018 11:37:09 PM(UTC-4)




From: +18562871602 David Reynolds

Nice ! Tear it up.
Status: Read
Read: 11/2/2018 11:45:17 PM(UTC-4)

                                     11/2/2018 11:37:25 PM(UTC-4)




From: +18562871602 David Reynolds

I’m laying in bed looking at my phone. Resting my foot
Status: Read
Read: 11/2/2018 11:45:17 PM(UTC-4)

                                                11/2/2018 11:37:36 PM(UTC-4)




                                                                               From: +12159102154 Me (owner)

                                                                               You poor thing
                                                                               Status: Sent
                                                                               Delivered: 11/2/2018 11:45:27 PM(UTC-4)

                                                                                                                         11/2/2018 11:45:27 PM(UTC-4)




                                                                                                                                                        1418
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                                            From: +12159102154 Me (owner)

                                            I can’t believe you actually think like that. I really can’t. I can’t see how you think that is a
                                            rational/reasonable position.
                                            Status: Sent
                                            Delivered: 11/3/2018 1:52:58 PM(UTC-4)

                                                                                                                              11/3/2018 1:52:56 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Dick I’m sorry I was just being a dick because I feel overwhelmed by the house and I want to
get some work done
Status: Read
Read: 11/3/2018 1:57:21 PM(UTC-4)

                                                                                11/3/2018 1:57:15 PM(UTC-4)




From: +12154391002 Vasili Barbounis

Too
Status: Read
Read: 11/3/2018 1:57:21 PM(UTC-4)

                                      11/3/2018 1:57:18 PM(UTC-4)




From: +12154391002 Vasili Barbounis

I’m sorry i was being a dick frickin Siri
Status: Read
Read: 11/3/2018 1:57:55 PM(UTC-4)

                                      11/3/2018 1:57:55 PM(UTC-4)




From: +12154391002 Vasili Barbounis

I’m going Wawa want anything?
Status: Read
Read: 11/3/2018 1:58:27 PM(UTC-4)

                                      11/3/2018 1:58:27 PM(UTC-4)




                                            From: +12159102154 Me (owner)

                                            ya but you blame it on me not taking care of you. Not doing small gestures. Like when does
                                            anyone do small anything for me. I’m busting my ass treading water to keep up alive. I did
                                            the tax stuff
                                            Status: Sent
                                            Delivered: 11/3/2018 1:58:33 PM(UTC-4)

                                                                                                                              11/3/2018 1:58:32 PM(UTC-4)




                                                                                     From: +12159102154 Me (owner)

                                                                                     I did the kids school stuff
                                                                                     Status: Sent
                                                                                     Delivered: 11/3/2018 1:58:39 PM(UTC-4)

                                                                                                                              11/3/2018 1:58:39 PM(UTC-4)




                                                                                     From: +12159102154 Me (owner)

                                                                                     I have a job and school
                                                                                     Status: Sent
                                                                                     Delivered: 11/3/2018 1:58:44 PM(UTC-4)

                                                                                                                              11/3/2018 1:58:44 PM(UTC-4)




                                                                                                                                                            1419
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      EXHIBIT 49
     Email from D.
        Pipes
     Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 109 of 175



From: Daniel Pipes
Sent: Friday, November 2, 2018 7:51 PM
To: Gregg Roman
Cc: Marc Fink
Subject: Allegations and conclusions

Dear Gregg:
As you know, there have been several allegations of improper conduct directed against you. The
Middle East Forum takes these allegations very seriously. Accordingly, I investigated this matter
yesterday, immediately upon learning of it.
Here is what I found: Three women who work for you – Lisa, Tricia and Marnie – say that you
made unwanted sexual advances toward them. You maintain that you never made such advances
and did not know they felt uncomfortable. But you acknowledge that your conduct, whatever
your intentions were, was not acceptable and put these employees in a difficult position.
You put this in the context of calling yourself a “social junkie” who seeks constant social
interaction. You acknowledge this drive led to melding together your business and personal
relationships with staffers, male and female alike. You acknowledge that this melding must cease
immediately and that you will limit yourself, within reason, to professional relations with MEF
staff, fellows, and interns.
In light of the forgoing and considering the stated wishes of these three staffers to go on with
their work at MEF, I propose a new structure governing the employment relationship between
you and female staffers: no contact outside of business hours other than using MEF e-mail. That
means no after-hours telephone calls, texts, other e-mails, social media, drinks, meals, outings,
trips, shared lodgings, and so forth. And even during business hours, interactions will be
business-related, within reason.
Furthermore, you agree that there will be no retaliation against these three employees
whatsoever, now or in the future, for them informing me of this matter; while they agree
immediately to inform me directly in the future about any problems concerning you.
You acknowledge that if there is a future case of a credible unwanted sexual advance by you
toward a female staffer under your supervision, you will be fired immediately.
Finally, I ask you to respond to this question:
       Do you agree to my proposed new structure governing the employment relationship
       between you and female staffers? If not, please propose additional/alternative structures.
I’d appreciate a quick reply that you accept these terms, as we are trying to close this matter as
soon as possible. Thank you for your cooperation.
                                                      Yours sincerely,

                                                      Daniel Pipes

                                                      cc: Marc Fink




                                                                                                     2
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 EXHIBIT 50
Memo from D.
Pipes to Roman
       Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 111 of 175



November 6, 2018

Dear Gregg:
Effective Nov. 5, your job description has changed. In particular, you are no longer running the
administration of the Middle East Forum.
Pursuant to our phone conversion on that date, I formally offer you new, interim terms for your
employment. (Interim because the office and I are reeling from the sudden changes this month
and need to preserve the right to make changes.)

Title
You keep the title of director.
Responsibilities
You will have the following responsibilities:
   •    Managing the Forum’s external projects and initiatives, including all the directors of the
        Forum’s formal projects except the Middle East Quarterly editor.
   •    Fundraising, in meetings, on the telephone, and in writing.
   •    Making media appearances on Forum-related topics.
Restrictions
You will have the following restrictions until further notice:
   •    No involvement in the Forum’s accounting, finances, office affairs, personnel issues, and
        property management.
   •    No authority over the Forum’s administrative staff.
   •    No authority to approve expenses of projects or initiatives.
   •    No authority to hire or fire Forum employees, including project directors.
   •    No authority to offer or approve contracts on behalf of the Forum.
   •    No authority over Middle East Forum Education Fund monies.
   •    No access to the Forum’s Philadelphia office.
   •    No contact with the Forum’s female employees outside of business hours other than
        using Forum e-mail. That means no after-hours telephone calls, texts, other e-mails,
        social media, drinks, meals, outings, trips, shared lodgings, and so forth. And during
        business hours, interactions will be business-related, within reason.
Conditions
As a condition precedent for this new, interim offer of employment, you shall turn over to
designated staffers your administrative control over the following platforms:
   •    Asana (Marnie Meyer)
   •    Slack (Marnie Meyer)
   •    Dropbox (Marnie Meyer)
   •    Zenefits (Marnie Meyer)
   •    Salesforce (Matt Bennett)
   •    Contactually (Matt Bennett)
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   •    Twitter (Lisa Barbounis)
   •    YouTube (Lisa Barbounis)
   •    Facebook (Lisa Barbounis)
   •    LexisNexis (Marc Fink)
In case other platforms have been omitted, the Forum reserves the right to add those to this list.

Salary
Your salary and benefits remain unchanged. Your salary will be payable in accordance with the
Forum's standard payroll practice and subject to applicable withholding taxes. Because your
position is exempt from overtime pay, your salary will compensate you for all hours worked.
Expenses
You agree not to incur any liabilities with third parties and only to expend your own resources
with the expectation of reimbursement by the Forum when specifically pre-approved by me in
writing, on a case by case basis. If the expense is approved by me, you shall lay out the funds,
then submit a reimbursement form to the Forum’s controller.
Travel
You will continue to travel on MEF business, according to the procedures specified under
Expenses, above. When traveling, you must keep in mind that you are working for a non-profit
that legally and morally must spend money thriftily. That means economy class on trains and
planes, standard business rooms in hotel, and ordinary rideshare and rental cars. In particular,
when possible, air travel must be booked weeks in advance to get advantageous prices.

Other terms
You will be an employee-at-will, meaning that either you or the Forum may terminate our
relationship at any time for any reason, with or without cause. Any statements to the contrary
that may have been made to you, or that may be made to you, by the Forum, its agents, or
representatives, are superseded by this offer letter. To re-emphasize, these interim terms are
subject to change.
You shall work remotely, from anywhere of your choosing.
You are eligible to participate in the following benefit plans:
   •    Group medical health, which may include dental and vision coverage depending on the
        plan you choose.
   •    403(b) retirement plan.
   •    Life insurance.
   •    Short-term and long-term disability.
(Please note: participation in these benefits may reduce the amount of your all-inclusive salary.)
If you wish to accept employment with the Forum under these terms, please indicate so by
signing two copies of this letter, returning one copy to me. You may do so by regular mail or by
scanning this letter and e-mailing it.
This offer and all terms of employment stated in this letter will expire at 5:00 PM Eastern
Standard Time on Friday, November 9, 2018.
                                               Sincerely,
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                                           Daniel Pipes
                                           President, Middle East Forum

With the signature below, I accept employment with the Middle East Forum, under the terms set
forth in this letter.


____________________________________                     _______________________
Gregg Roman                                              Date
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   EXHIBIT 51
   Email from D.
      Pipes
    Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 115 of 175

                    Pipes Letter to Meyer RE: Roman – 11/4/2018
From: Daniel Pipes
Sent: Sunday, November 4, 2018 11:34 AM
To: Marnie Meyer
Cc: Marc Fink
Subject: Allegations and consequences

Dear Marnie:
I am responding to the allegations you raised on Nov. 1 of improper conduct by Gregg. The
Middle East Forum takes these allegations very seriously.
I have investigated this matter and found the following: You say that Gregg made unwanted
sexual advances toward you. Gregg maintains that he never made such advances.
But, on learning your reaction, he acknowledges that his conduct was unacceptable and put you
in a difficult position. Gregg put this in the context of calling himself a “social junkie” who seeks
constant social interaction. He acknowledges this drive led to melding together his business and
personal relationships with staffers, male and female alike; he also acknowledges that this
mixing of business and personal relations must cease immediately.
In light of the forgoing and considering your stated wish to go on with your work at MEF, I
propose several changes:

   1. Gregg is no longer your supervisor; if he were to become that again in the future, it would
      only be with your consent.
   2. During business hours, you both agree to limit yourselves, within reason, to professional
      relations.
   3. Outside of business hours, you both agree to no contact other than using MEF e-mail: that
      is, no after-hours telephone calls, texts, other e-mails, social media, drinks, meals,
      outings, trips, shared lodgings, and so forth.
Gregg agrees that there will be no retaliation against you whatsoever, now or in the future, for
you informing me of this matter. You agree not to wait months to inform me about any problems
in the future concerning Gregg, but to do so immediately.
Gregg has been told and accepts that if there is a future case of a credible unwanted sexual
advance by him toward a female staffer under his supervision, he will be fired immediately.
In the interests of documenting precisely what happened, I request that you send me a written
account of what you already told me about Gregg’s unwanted advances toward you.
Finally, I ask you to respond to three questions:

   1. Do you agree to my proposed three changes? If not, please specify.
   2. Are you satisfied with how the Forum has handled this matter? If not, what additional
      steps do you request?
   3. Do you consider this matter satisfactorily resolved?
Thank you for bringing this matter to my attention, and for your cooperation.
                                                      Yours sincerely,

                                                      Daniel Pipes


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                  Pipes Letter to Barbounis RE: Roman – 11/4/2018
From: Daniel Pipes
Sent: Sunday, November 4, 2018 11:34 AM
To: Lisa Barbounis
Cc: Marc Fink
Subject: Allegations and consequences

Dear Lisa:
I am responding to the allegations you raised on Nov. 1 of improper conduct by Gregg. The
Middle East Forum takes these allegations very seriously.
I have investigated this matter and found the following: You say that Gregg made unwanted
sexual advances toward you. Gregg maintains that he never made such advances.
But, on learning your reaction, he acknowledges that his conduct was unacceptable and put you
in a difficult position. Gregg put this in the context of calling himself a “social junkie” who seeks
constant social interaction. He acknowledges this drive led to melding together his business and
personal relationships with staffers, male and female alike; he also acknowledges that this
mixing of business and personal relations must cease immediately.
In light of the forgoing and considering your stated wish to go on with your work at MEF, I
propose several changes:

   1. Gregg is no longer your supervisor; if he were to become that again in the future, it would
      only be with your consent.
   2. During business hours, you both agree to limit yourselves, within reason, to professional
      relations.
   3. Outside of business hours, you both agree to no contact other than using MEF e-mail: that
      is, no after-hours telephone calls, texts, other e-mails, social media, drinks, meals,
      outings, trips, shared lodgings, and so forth.
Gregg agrees that there will be no retaliation against you whatsoever, now or in the future, for
you informing me of this matter. You agree not to wait months to inform me about any problems
in the future concerning Gregg, but to do so immediately.
Gregg has been told and accepts that if there is a future case of a credible unwanted sexual
advance by him toward a female staffer under his supervision, he will be fired immediately.
In the interests of documenting precisely what happened, I request that you send me a written
account of what you already told me about Gregg’s unwanted advances toward you.
Finally, I ask you to respond to three questions:

   1. Do you agree to my proposed three changes? If not, please specify.
   2. Are you satisfied with how the Forum has handled this matter? If not, what additional
      steps do you request?
   3. Do you consider this matter satisfactorily resolved?
Thank you for bringing this matter to my attention, and for your cooperation.
                                                      Yours sincerely,

                                                      Daniel Pipes


                                                                                                   2
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                   Pipes Letter to McNulty RE: Roman – 11/4/2018
From: Daniel Pipes
Sent: Sunday, November 4, 2018 11:34 AM
To: Tricia McNulty
Cc: Marc Fink
Subject: Allegations and consequences

Dear Tricia:
I am responding to the allegations you raised on Nov. 1 of improper conduct by Gregg. The
Middle East Forum takes these allegations very seriously.
I have investigated this matter and found the following: You say that Gregg made unwanted
sexual advances toward you. Gregg maintains that he never made such advances.
But, on learning your reaction, he acknowledges that his conduct was unacceptable and put you
in a difficult position. Gregg put this in the context of calling himself a “social junkie” who seeks
constant social interaction. He acknowledges this drive led to melding together his business and
personal relationships with staffers, male and female alike; he also acknowledges that this
mixing of business and personal relations must cease immediately.
In light of the forgoing and considering your stated wish to go on with your work at MEF, I
propose several changes:

   1. Gregg is no longer your supervisor; if he were to become that again in the future, it would
      only be with your consent.
   2. During business hours, you both agree to limit yourselves, within reason, to professional
      relations.
   3. Outside of business hours, you both agree to no contact other than using MEF e-mail: that
      is, no after-hours telephone calls, texts, other e-mails, social media, drinks, meals,
      outings, trips, shared lodgings, and so forth.
Gregg agrees that there will be no retaliation against you whatsoever, now or in the future, for
you informing me of this matter. You agree not to wait months to inform me about any problems
in the future concerning Gregg, but to do so immediately.
Gregg has been told and accepts that if there is a future case of a credible unwanted sexual
advance by him toward a female staffer under his supervision, he will be fired immediately.
In the interests of documenting precisely what happened, I request that you send me a written
account of what you already told me about Gregg’s unwanted advances toward you.
Finally, I ask you to respond to three questions:

   1. Do you agree to my proposed three changes? If not, please specify.
   2. Are you satisfied with how the Forum has handled this matter? If not, what additional
      steps do you request?
   3. Do you consider this matter satisfactorily resolved?
Thank you for bringing this matter to my attention, and for your cooperation.
                                                      Yours sincerely,

                                                      Daniel Pipes


                                                                                                   3
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                  Meyer Response to Pipes RE: Roman 11-04-18

On 2018-11-04, 3:13 PM, "Marnie Meyer" <marniem03@gmail.com> wrote:


      Dear Daniel:



      Thank you for your email. I am replying only to you because I do not think Gregg has
      the ability to access your email. I'm not confident that he cannot access Marc's. He had
      Hybros change everyone's passwords with the exception of yours and he asked that they
      not be changed and he had me send all of them to him. I would prefer that you share this
      with Marc through his personal email or confirm that he has changed his hybros issued
      password prior to sending it to him.

      My responses to your questions are as follows"

                     1. Do you agree to my proposed three changes? If not, please specify. I
                     am in agreement with all three changes, but I will require some added
                     changes. I would like my computer, email, and access to all
                     banking/financial platforms changed and the assurance that Gregg
                     will not have the ability to acquire any of my passwords and sign in
                     under the same log on as me. I am fine with sharing those passwords
                     with you and Marc or anyone you deem trustworthy, but I do not
                     want to have shared access with him for any financial platform. I
                     want assurances that he cannot change my work product nor will he
                     have access to the ability to create any transactions under a shared
                     log on so that it may seem as if I created them. I do not want him to
                     have the ability to access my office if I am not there. I'm happy for
                     you and Marc or anyone you trust to have that ability. If he is to
                     retain the power of approving all MEF expenditures, I would like to
                     request a second level of approvals by anyone you deem fit to handle
                     that responsibility. There may be other things that I think of, but I
                     want to protect myself from any ability he may have to spend MEF
                     funds and make it look as if I have done it and for him to tamper with
                     my work product.

                     2. Are you satisfied with how the Forum has handled this matter? If not,
                     what additional steps do you request? At this point, I am satisfied
                     that MEF is taking steps to protect the interest of it's employees. I
                     cannot say at this time that feel the matter has been handled only
                     because I do not know the exact changes you are instituting nor do I
                     know how these changes will affect my ability to perform my day to
                     day duties. I do feel optimistic that you are attempting to handle the
                     matter appropriately.

                     3. Do you consider this matter satisfactorily resolved? Again, I do not
                     really know the exact resolution at this time but I do know that
                     the full resolution would provide me the ability to perform my duties
                     free from worry that anyone could tamper with my work product or
                     make it look as if I've misappropriated or stolen funds. As it is, there
                                                                                             4
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             is no payment or paycheck that goes out the door that Gregg does not
             approve. He also has the ability to create transactions under the same
             log-on profiles that I use. He has access to a spreadsheet that I keep
             with every password on it. I will not feel comfortable if he continues
             with that authority nor do I feel it's in the forum's best interest for
             him to retain that power.




                                                                                   5
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            Pipes Response to Meyer Response RE: Roman – 11-4-18

From: Daniel Pipes <daniel.pipes@gmail.com>
Date: Sun, Nov 4, 2018 at 4:17 PM
Subject: Re: Allegations and consequences
To: Marnie Meyer <marniem03@gmail.com>
Cc: Marc Fink <marcfink.mef@gmail.com>


Dear Marnie,

Thank you for your quick response and thoughts. As you requested, I forwarded your
note to Marc's personal e-mail. Given that you are both on Gmail, I have joined you on
it.

The issue of expenditures is an important one for us to investigate, and you are invited
to bring it up tomorrow. The steps you propose make good sense. I will be in further
contact with you on this issue.

But I'd like to return to the sexual harassment issue prompted by your 5-page note to me
on Thursday. On this issue alone, could you answer the three questions I posed:

   1. Do you agree to my proposed three changes? If not, please specify.
   2. Are you satisfied with how the Forum has handled this matter? If not, what additional
      steps do you request?
   3. Do you consider this matter satisfactorily resolved?

If you can send this from MEForum.org to MEForum.org, that would be best but
sending to the private e-mails is fine too.

All best, Daniel




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        Meyer Response to Pipes Response to Meyer RE: Roman 11-4-18

From: Marnie Meyer <marniem03@gmail.com>
Date: Sun, Nov 4, 2018 at 7:30 PM
Subject: Re: Allegations and consequences
To: Daniel Pipes <daniel.pipes@gmail.com>
Cc: <marcfink.mef@gmail.com>


Dear Daniel,

I prefer to stick to personal emails. I do not want Gregg to see anything that I'm writing and if he
has not had his access blocked I know that he can and that he will be looking for any information
he can find. My response to the three questions in regard to the sexual harassment issues are as
follows:

      1. Do you agree to my proposed three changes? If not, please specify.-I agree to all three
         of those changes, but I will need more changes instituted in order to feel
         completely comfortable working with Gregg in the future. I would like to be
         clear in the third change that you stated that I have already removed Gregg from
         all of my social media. I have no desire to have contact with him during the work
         day let alone after hours. I did not feel after hour work meetings, outings or
         shared lodging were necessary prior to this. I feel he was facilitating and using
         those situations with the intention of taking advantage female staff members. I
         am happy to see all of that come to an end.
      2. Are you satisfied with how the Forum has handled this matter? If not, what additional
         steps do you request? I am satisfied that the Forum is attempting to successfully
         handle this matter. In order to feel satisfied that the matter has been handled, I
         will need details on the exact expectation of how I am to fulfill my
         duties. Currently, all of my work is directed and approved by Gregg. My
         preference would be that my duties no longer intersect with his. I would prefer
         not to work in the same office with him. I am capable of being professional if
         there is a need for some type of professional interaction needed, but I don't
         believe a team can operate successfully without trust and at this point I have zero
         trust for Gregg Roman as an individual and as a leader.
      3. Do you consider this matter satisfactorily resolved? I do not feel I've had a full
         resolution laid out for me. I do feel confident that the Forum is working towards
         satisfactorily resolving this matter and I intend to work with you towards that
         end.

I will work on a detailed report of my experience. I will have it to you within a couple days. I
want to take my time and write it up accurately.




                                                                                                   7
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                      McNulty Letter to Pipes RE: Roman 11-4-18
From: Tricia McNulty
Sent: Sunday, November 4, 2018 5:43 PM
To: Daniel Pipes
Cc: Marc Fink
Subject: Re: Allegations and consequences

Dear Daniel,

On November 1st, I confirmed with you that I was aware of certain indiscretions between Lisa
Barbounis and Gregg Roman during a trip to Israel in May. While the two were in Israel, Lisa
and I had a conversation via text and call where she expressed Gregg was inappropriate towards
her and had also informed her of his previous indiscretions with MEF intern, Lea Merville. She
mentioned being very scared and uncomfortable, to the extent that she had hid a knife under her
pillow.

When she mentioned Gregg was "being weird", "had drank too much", and "was making her feel
uncomfortable", I asked her if that meant he was getting "AIPAC couch-ish". My reference was
to the night after our MEF dinner at AIPAC. Following the dinner we attended another AIPAC
event where guests were drinking before going to a bar. After the bar, MEF staff and a few other
AIPAC attendees went back to an air b&b where Gregg was staying. In the living room, Gregg
was sitting on the couch in between Lisa and myself. Matt Bennett, Marnie Meyer, Raheem
Kassam, and three other men, who I do not know, were all in the room discussing work and
possible collaborations. After about fifteen minutes, Gregg abruptly asked the three men to leave
the room. At that point, as the men were trying to wrap up their conversation with Matt, Gregg
put his arm around Lisa and myself and pulled me into him so that I was almost in his lap and
began whispering in my ear that no other men should be in the room. At that point I pulled away
and left the couch.

I do apologize that I did not tell you sooner of the incident, but I felt that I could handle myself in
that capacity and thought that I was doing the right thing for the organization. I felt compelled to
disclose this incident to you because I knew there were saved text messages which referenced
it, that would be pertinent to issues being discussed and might be shown, and felt I needed to be
forthright with that information. I am extremely sorry that you were not informed of these issues
right away, but please know that until they were forced to the surface I did feel like I was doing
the best thing for the organization by keeping them private. I felt like I was being loyal to MEF
because I thought it did not affect anyone but myself. I do promise that any future incidents,
should they happen, will be reported to you immediately.

In response to the three questions you posed:

   1. I do have reservations working in the same space with Gregg after everything that has
      transpired. More so because I have witnessed his vindictive, manipulative, and
      volatile nature than I worry of sexual advances. I very much enjoy working for MEF and
      want nothing more than to continue to do so. I am so proud to be even a small part of
      your life's work and believe so strongly in the mission. I do agree to the three changes
      you proposed in your email, but would ask that an additional change be considered:
          o If it is found that working in the same office space as Gregg becomes unendurable
              after what has transpired, the option to work remotely be considered.
   2. With the above consideration I am satisfied with how the Forum has handled this matter.
   3. With the above consideration I consider this matter satisfactorily resolved.

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I am very sorry that all of this took place and for the position it has put you in as well. I want
nothing more than to move on and continue working hard for MEF.

Sincerely,

Tricia McNulty
Program Manager
Middle East Forum
Phone: (215) 546-5406 ext. 110
Email:McNulty@MEForum.org
Fax: (215) 546-5409
www.MEForum.org




                                                                                                     9
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                Barbounis Letter to Pipes Letter RE: Roman 11-4-18


From: Lisa Barbounis
Sent: Sunday, November 4, 2018 6:48 PM
To: Daniel Pipes
Cc: Marc Fink
Subject: Re: Allegations and consequences

Dear Dr. Pipes,

Thank you for taking the time to address my concerns quickly and professionally. I have read
your email and would like to address your comments and questions.

Gregg's "social junkie" as a function of his personality explanation is an inexcusable
defense. Gregg made unwanted sexual advances and put me in an uncomfortable
situation. However, I felt at the time I handled the issue and have not had an incident
since. Nevertheless, his “inappropriate behavior” is the least of my concern. More troubling is
the deceit and abusive behavior I witness and experience on a weekly basis which increased after
the Israel incident.

I sat in Gregg’s office as he was preparing to confront one of his many adversaries. He said to
me, “if you cross me, I will slit your throat.” I took this figuratively but have since watched as
anyone, that so much as challenged him, has been met with calculated, spiteful and malicious,
concealed action. I have watched as Gregg patiently maneuvered to have Garry, Cliff, EJ, Marc,
etc. each receive derogatory marks on their records or reputation in order to make his move to
have them eventually disassociate with MEF. I listened to him lie to both you and Marc about
his interaction with Arthur Stein. I have listened to him divulge private details of your (Dr.
Pipes’) personal affairs. I have watched him speak poorly and unfairly about MEF employees to
other employees to sow seeds of doubt and create conflict. I have no doubt that if Gregg were to
remain, he would employ the same strategy toward me. As a matter of fact, he has already
begun. He has even broken confidentiality protocol by offering Marnie the ability to read the
incident report he instructed Matt to have me write. In order to maintain a cohesive working
relationship, there needs to be at least a miniscule element of trust. Plainly, I do not trust Gregg
Roman with anything. Gregg has even gone as far as claiming he believes MEF is better without
you, Daniel Pipes. In an ordinary conversation I asked Gregg, “what do you think MEF has to
do to reach the next level, like CATO or Heritage?” His response was, “disassociate from
Daniel.” If he is not loyal to you what would ever make me believe he would be concerned with
my best interest?

In addition to his retaliatory nature, as Thelma once said, “Gregg only operates in a state of
chaos.” It is because of this chaos that this past year has been borderline unbearable. If the
absurd requests, mismanagement, outrageous expectations and demands weren’t enough, the
abusive tone, language, never-ending lies and manipulation have the entire office in a constant
state of disarray. Stacey has been in tears more than once slamming things on her desk. Thelma
was talking about quitting over the way Gregg spoke to her. Poor Delaney is constantly in my
office because she is so afraid to submit anything to Gregg without my prior review. He
overworks every employee, doesn’t give clear instructions, creates near impossible and
unrealistic deadlines, defers his managerial duties to his employees, purposefully holds
employees back from being successful and then annihilates anyone who doesn’t produce the
exact same outcome as the one created in his head. Not one single person in that office, and few
employees outside the office, think we function in a healthy work environment.
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It is because of these concerns listed above that I do not believe Gregg’s presence in the office is
beneficial to MEF as a whole. I would be happy to elaborate on any of the aforementioned
instances.

To address your questions directly:
1.    Do you agree to my proposed three changes? If not, please specify.
a.     I agree that Gregg will no longer be my supervisor and we will have no outside
communication. However, much of my work is directly related to Gregg and his affairs. I do
not understand how this will be possible unless there is a change in my duties.
2.    Are you satisfied with how the Forum has handled this matter? If not, what additional steps
do you request?
a.     I am satisfied with the speed of inquiry yet disappointed in the discovery aspect of the
incident. I will, as requested, submit a separate detailed description of the events that occurred
on March 14 in addition to all corroborating evidence.
b.    I believe it would be valuable for you or Marc to speak to every office employee regarding
Gregg's behavior and the office environment.
c.     As stated above, I do not believe it will be beneficial to have Gregg operate out of the
central office. There is no scenario where I believe his presence will have a positive outcome.
3.    Do you consider this matter satisfactorily resolved?
a.     I am currently unable to answer this because I am unaware of the final details of the
proposed resolution.

As I have stated before, I wholeheartedly believe in the good work of the Middle East Forum and
wish to remain a faithful employee of the organization. As such, I vow to come to you with any
issues immediately. I would like to note, I unequivocally believe that future turmoil of this
nature is unavoidable should Gregg Roman remain an integral part of the MEF operation.
I thank you for taking my concerns and allegations seriously.
Sincerely,

Lisa Barbounis

*Attached you will find screenshots from my March 14 conversations with both my husband and
Tricia regarding Gregg's behavior in addition to screen shots directly from Gregg referencing
you (Dr. Pipes) during the Hoberman Snowball proposal phone call.

I believe I may have more you want to see should I keep looking.




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  EXHIBIT 53
   Messages
between Plaintiff
and J. Reynolds
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 EXHIBIT 54
Executed Offer
    Letter
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November 6, 2018

Dear Gregg:
Effective Nov. 5, your job description has changed. In particular, you are no longer running the
administration of the Middle East Forum.
Pursuant to our phone conversion on that date, I formally offer you new, interim terms for your
employment. (I emphasize interim, because the office and I are reeling from the sudden changes
this month and must preserve the right to make further changes.)
Title
You keep the title of director.
Responsibilities
You will have the following responsibilities:
   •     Managing the Forum’s external projects and initiatives, including all the directors of the
         Forum’s formal projects except the Middle East Quarterly editor.
   •     Fundraising, in meetings, on the telephone, and in writing.
   •     Making media appearances on Forum-related topics.
Restrictions
You will have the following restrictions until further notice:
   •     No involvement in the Forum’s accounting, finances, office affairs, personnel issues, and
         property management.
   •     No authority over the Forum’s administrative staff.
   •     No authority to approve expenses of projects or initiatives.
   •     No authority to hire or fire Forum employees, including project directors.
   •     No authority to offer or approve contracts on behalf of the Forum.
   •     No authority over Middle East Forum Education Fund monies.
   •     No access to the Forum’s Philadelphia office.
   •     No contact with the Forum’s female employees outside of business hours other than
         using Forum e-mail. That means no after-hours telephone calls, texts, other e-mails,
         social media, drinks, meals, outings, trips, shared lodgings, and so forth. And during
         business hours, interactions will be business-related, within reason.
Conditions
As a condition precedent for this new, interim offer of employment, you shall turn over to
designated staffers your administrative control over the following platforms:
   •     Asana (Marnie Meyer)
   •     Slack (Marnie Meyer)
   •     Dropbox (Marnie Meyer)
   •     Zenefits (Marnie Meyer)
   •     Salesforce (Matt Bennett)
   •     Contactually (Matt Bennett)
   •     Twitter (Lisa Barbounis)
   •     YouTube (Lisa Barbounis)
   •     Facebook (Lisa Barbounis)
   •     LexisNexis (Marc Fink)
In case other platforms have been omitted, the Forum reserves the right to add those to this list.

Salary
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Your salary and benefits remain unchanged. Your salary will be payable in accordance with the
Forum's standard payroll practice and subject to applicable withholding taxes. Because your
position is exempt from overtime pay, your salary will compensate you for all hours worked.
Expenses
You agree not to incur any liabilities with third parties and only to expend your own resources
with the expectation of reimbursement by the Forum when specifically pre-approved by me in
writing, on a case by case basis. If the expense is approved by me, you shall lay out the funds,
then submit a reimbursement form to the Forum’s controller.
Travel
You will continue to travel on MEF business, according to the procedures specified under
Expenses, above. When traveling, you must keep in mind that you are working for a non-profit
that legally and morally must spend money thriftily. That means, unless exceptions are
specifically permitted, economy class on trains and planes, standard business rooms in hotel, and
standard rideshare and rental cars. In particular, when possible, air travel must be booked weeks
in advance to get advantageous prices.
Other terms
You will be an employee-at-will, meaning that either you or the Forum may terminate our
relationship at any time for any reason, with or without cause. Any statements to the contrary
that may have been made to you, or that may be made to you, by the Forum, its agents, or
representatives, are superseded by this offer letter. To re-emphasize, these interim terms are
subject to change.
You shall work remotely, from anywhere of your choosing.
You are eligible to participate in the following benefit plans:
   •   Group medical health, which may include dental and vision coverage depending on the
       plan you choose.
   •   403(b) retirement.
   •   Life insurance.
   •   Short-term and long-term disability.
(Please note: participation in these benefits may reduce the amount of your all-inclusive salary.)
If you wish to accept employment with the Forum under these terms, please indicate so by
signing two copies of this letter, returning one copy to me. You may do so by regular mail or by
scanning this letter and e-mailing it to Marc and me.
This offer and all terms of employment stated in this letter will expire at 5:00 PM Eastern
Standard Time on Friday, November 9, 2018.
                                              Sincerely,




                                              Daniel Pipes
                                              President, Middle East Forum
     Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 138 of 175
With the signature below, I accept employment with the Middle East Forum, under the terms set
forth in this letter.


____________________________________                           11/09/2018
                                                         _______________________
Gregg Roman                                              Date
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 EXHIBIT 55
   Messages
    between
Plaintiff and D.
    Thomas
                   Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 140 of 175
447900171112@s.whatsapp.net Danny Tommo

Well if that happens it will cause a storm for sure, I think they can't afford another fuck up
their end. Let's just wait and see, what's the dates he need to be there for ?
Status: Read
Platform: Mobile

                                                                        10/30/2018 2:44:15 PM(UTC-4)




447900171112@s.whatsapp.net Danny Tommo

How are you anyway, you all good ?
Status: Read
Platform: Mobile

                                  10/30/2018 2:44:39 PM(UTC-4)




                                                     From: 12159102154@s.whatsapp.net Lisa (owner)
                                                     To: 447900171112@s.whatsapp.net Danny Tommo

                                                     After his trip here I’m quitting my job and looking for another one.

                                                        Participant           Delivered             Read                 Played
                                                        447900171112@s.w 10/30/2018 2:45:14         10/30/2018 2:45:21
                                                        hatsapp.net Danny PM(UTC-4)                 PM(UTC-4)
                                                        Tommo


                                                     Status: Sent
                                                     Platform: Mobile

                                                                                                                  10/30/2018 2:45:12 PM(UTC-4)




                                                                             From: 12159102154@s.whatsapp.net Lisa (owner)
                                                                             To: 447900171112@s.whatsapp.net Danny Tommo

                                                                             Maybe in London Hahhahaha

                                                                                Participant     Delivered      Read           Played
                                                                                447900171112                   10/30/2018
                                                                                @s.whatsapp.                   2:45:29
                                                                                net Danny                      PM(UTC-4)
                                                                                Tommo


                                                                             Status: Sent
                                                                             Platform: Mobile

                                                                                                                  10/30/2018 2:45:28 PM(UTC-4)




447900171112@s.whatsapp.net Danny Tommo

What !!!!! Lisa why ?????
Status: Read
Platform: Mobile

                                  10/30/2018 2:45:38 PM(UTC-4)




447900171112@s.whatsapp.net Danny Tommo

Yer fuck it do it
Status: Read
Platform: Mobile

                                  10/30/2018 2:45:46 PM(UTC-4)




                                                                                                                                                 51
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  EXHIBIT 56
   Messages
between Plaintiff
 and K. Ercole
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 EXHIBIT 57
  Bonus to
  Plaintiff
                                 MIDDLE EAST FORUM
                                                  Case 2:19-cv-05030-JDW     Document 111-2 Filed 03/02/21 Page 144 of 175
                                                                       1401-9341




                                                                                                                                                                                         Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS   YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M120.00   8405.12
                            Philadelphia, PA 19130                                                         Bonus                                          1000.00              1000.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            120.00
                                                                                                           Gross Earnings                                 3853.54              9405.12
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)             YTD ($)
                            Pay Period: 02/01/19 to 02/15/19
                            Check Date: 02/15/19     Check #: 22680                                        Social Security                                  203.46              476.73
                            NET PAY ALLOCATIONS                                                            Medicare                                          47.58              111.49
                                                                                                           Fed Income Tax MWS 0                             514.55             1069.43
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                    100.74              236.06
                            Check Amount                    0.00              0.00                         PA Unemploy                                        2.31                5.65
                            Chkg 2356                    2257.99           5419.45                         PA PHILA-Phi Inc                                 149.55              365.01
                            NET PAY                      2257.99           5419.45
                                                                                                           TOTAL                                          1018.19              2264.37
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)             YTD ($)

                                                                                                           Deduction                                          5.39                5.39
                                                                                                           Pre-Tax Medical                                  571.97             1715.91

                                                                                                           TOTAL                                            577.36             1721.30




                                                                                      NET PAY                                                      THIS PERIOD ($)              YTD ($)
                                                                                                                                                          2257.99               5419.45

                             Payrolls by Paychex, Inc.

                            0026 1401-9341 Middle East Forum • 1650 Market St Suite 3600 • Philadelphia PA 19103 • (215) 546-5406
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    EXHIBIT 58
     Email from
      Plaintiff
               Case 2:19-cv-05030-JDW Document 111-2 Filed 03/02/21 Page 146 of 175
From: Lisa Barbounis on behalf of Lisa Barbounis <Barbounis@meforum.org>
Sent: Friday, February 08, 2019 1:47 PM EST
To: David Kirkpatrick <david.kirkpatrick@nytimes.com>
Subject: Re: Meeting with the Middle East Forum
Dear David,

I know that we spoke briefly about a meeting when I next visit London however I may have a very big exclusive story for you
involving Tommy Robinson, Hope Not Hate and the BBC. Might you have a moment to speak?
Sincerely,
Lisa Barbounis
Director of Communications
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409




From: David Kirkpatrick <david.kirkpatrick@nytimes.com>
Sent: Thursday, February 7, 2019 4:12 AM
To: Lisa Barbounis
Subject: Re: Meeting with the Middle East Forum

Excellent! Let me know when you will be in London.

Sent from my iPhone

On 6 Feb 2019, at 22:38, Lisa Barbounis <Barbounis@meforum.org> wrote:


      Thank you, David.

      I am actually in England quite often. I will definitely be there at the end of March. If you are in the US before then please let me know.

      I look forward to meeting you.

      Sincerely,

      Lisa Barbounis
      Director of Communications
      Middle East Forum
      O: 215.546.5406 x102
      C: 215.910.2154
      F: 215.546.5409

      <image007.jpg>
      <image008.png> <image009.png> <image010.png> <image011.png> <image012.png>
      Please subscribe to our newsletters here!



      From: David Kirkpatrick <david.kirkpatrick@nytimes.com>
      Sent: Wednesday, February 6, 2019 5:32 PM
      To: Lisa Barbounis <Barbounis@meforum.org>
      Subject: Re: Meeting with the Middle East Forum

      Hello. I would be delighted to meet. I am based in London. Are you ever over here? If not I will try to get in touch next
      time I am in the US.

      David

      Sent from my iPhone

      On 6 Feb 2019, at 21:33, Lisa Barbounis <Barbounis@meforum.org> wrote:

              Dear Mr. Kirkpatrick,

              I write to introduce myself, I am the new Director of Communications for the Middle East Forum.

              I was hoping you might be available to grab a quick coffee to discuss the Middle East Forum’s work, potential commentary
              columns as well as our ability to provide analysis, perspective, background and quotes for relevant news article, etc.
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I will be back and forth between Washington, D.C. and New York for the next month and would appreciate the opportunity to
sit down with you.

If you have availability, please let me know a few dates and times that are convenient, and I will be more than happy to
arrange the details.

Sincerely,

Lisa Barbounis
Director of Communications
Middle East Forum
O: 215.546.5406 x102
C: 215.910.2154
F: 215.546.5409

<image002.jpg>
<image004.png> <image006.png> <image008.png> <image010.png> <image012.png>
Please subscribe to our newsletters here!
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   EXHIBIT 59
   Second Bonus
    to Plaintiff
                                 MIDDLE EAST FORUM
                                                  Case 2:19-cv-05030-JDW     Document 111-2 Filed 03/02/21 Page 149 of 175
                                                                       1401-9341




                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M560.00   39794.06
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               6000.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            560.00
                                                                                                           Gross Earnings                                 3353.54              45794.06
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 07/16/19 to 07/31/19
                            Check Date: 07/31/19     Check #: 22905                                        Social Security                                  172.46              2342.76
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               547.90
                                                                                                           Fed Income Tax MWS 0                             404.55              5409.48
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39              1160.00
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                27.46
                            Chkg 2356                    1947.01         26457.74                          PA PHILA-Phi Inc                                 129.82              1776.59
                            NET PAY                      1947.01         26457.74
                                                                                                           TOTAL                                            834.56             11264.19
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              8007.58

                                                                                                           TOTAL                                            571.97              8072.13




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1947.01               26457.74

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M520.00   36940.52
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               5500.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            520.00
                                                                                                           Gross Earnings                                 3353.54              42440.52
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 07/01/19 to 07/15/19
                            Check Date: 07/15/19     Check #: 22884                                        Social Security                                  172.45              2170.30
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               507.57
                                                                                                           Fed Income Tax MWS 0                             404.55              5004.93
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39              1074.61
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                25.45
                            Chkg 2356                    1947.02         24510.73                          PA PHILA-Phi Inc                                 129.82              1646.77
                            NET PAY                      1947.02         24510.73
                                                                                                           TOTAL                                            834.55             10429.63
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              7435.61

                                                                                                           TOTAL                                            571.97              7500.16




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1947.02               24510.73

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M480.00   34086.98
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               5000.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            480.00
                                                                                                           Gross Earnings                                 3353.54              39086.98
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 06/16/19 to 06/30/19
                            Check Date: 06/28/19     Check #: 22863                                        Social Security                                  172.46              1997.85
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               467.24
                                                                                                           Fed Income Tax MWS 0                             404.55              4600.38
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               989.22
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                23.44
                            Chkg 2356                    1946.68         22563.71                          PA PHILA-Phi Inc                                 130.15              1516.95
                            NET PAY                      1946.68         22563.71
                                                                                                           TOTAL                                            834.89              9595.08
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              6863.64

                                                                                                           TOTAL                                            571.97              6928.19




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.68               22563.71

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M440.00   31233.44
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               4500.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            440.00
                                                                                                           Gross Earnings                                 3353.54              35733.44
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 06/01/19 to 06/15/19
                            Check Date: 06/14/19     Check #: 22842                                        Social Security                                  172.46              1825.39
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.34               426.91
                                                                                                           Fed Income Tax MWS 0                             404.55              4195.83
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               903.83
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                21.43
                            Chkg 2356                    1946.67         20617.03                          PA PHILA-Phi Inc                                 130.15              1386.80
                            NET PAY                      1946.67         20617.03
                                                                                                           TOTAL                                            834.90              8760.19
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              6291.67

                                                                                                           TOTAL                                            571.97              6356.22




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.67               20617.03

                             Payrolls by Paychex, Inc.

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                                 MIDDLE EAST FORUM
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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M400.00   28379.90
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               4000.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            400.00
                                                                                                           Gross Earnings                                 3353.54              32379.90
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 05/16/19 to 05/31/19
                            Check Date: 05/31/19     Check #: 22820                                        Social Security                                  172.45              1652.93
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               386.57
                                                                                                           Fed Income Tax MWS 0                             404.55              3791.28
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               818.44
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                19.42
                            Chkg 2356                    1946.69         18670.36                          PA PHILA-Phi Inc                                 130.15              1256.65
                            NET PAY                      1946.69         18670.36
                                                                                                           TOTAL                                            834.88              7925.29
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              5719.70

                                                                                                           TOTAL                                            571.97              5784.25




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.69               18670.36

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M360.00   25526.36
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               3500.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            360.00
                                                                                                           Gross Earnings                                 3353.54              29026.36
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 05/01/19 to 05/15/19
                            Check Date: 05/15/19     Check #: 22800                                        Social Security                                  172.46              1480.48
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               346.24
                                                                                                           Fed Income Tax MWS 0                             404.55              3386.73
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               733.05
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                17.41
                            Chkg 2356                    1946.68         16723.67                          PA PHILA-Phi Inc                                 130.15              1126.50
                            NET PAY                      1946.68         16723.67
                                                                                                           TOTAL                                            834.89              7090.41
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              5147.73

                                                                                                           TOTAL                                            571.97              5212.28




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.68               16723.67

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M320.00   22672.82
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               3000.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            320.00
                                                                                                           Gross Earnings                                 3353.54              25672.82
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 04/16/19 to 04/30/19
                            Check Date: 04/30/19     Check #: 22780                                        Social Security                                  172.46              1308.02
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.34               305.91
                                                                                                           Fed Income Tax MWS 0                             404.55              2982.18
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               647.66
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                15.40
                            Chkg 2356                    1946.67         14776.99                          PA PHILA-Phi Inc                                 130.15               996.35
                            NET PAY                      1946.67         14776.99
                                                                                                           TOTAL                                            834.90              6255.52
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              4575.76

                                                                                                           TOTAL                                            571.97              4640.31




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.67               14776.99

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M280.00   19819.28
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               2500.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            280.00
                                                                                                           Gross Earnings                                 3353.54              22319.28
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 04/01/19 to 04/15/19
                            Check Date: 04/15/19     Check #: 22761                                        Social Security                                  172.46              1135.56
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               265.57
                                                                                                           Fed Income Tax MWS 0                             404.55              2577.63
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               562.27
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                13.39
                            Chkg 2356                    1946.68         12830.32                          PA PHILA-Phi Inc                                 130.15               866.20
                            NET PAY                      1946.68         12830.32
                                                                                                           TOTAL                                            834.89              5420.62
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              4003.79

                                                                                                           TOTAL                                            571.97              4068.34




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.68               12830.32

                             Payrolls by Paychex, Inc.

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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M240.00   16965.74
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               2000.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            240.00
                                                                                                           Gross Earnings                                 3353.54              18965.74
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 03/16/19 to 03/31/19
                            Check Date: 03/29/19     Check #: 22741                                        Social Security                                  172.45               963.10
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               225.24
                                                                                                           Fed Income Tax MWS 0                             404.55              2173.08
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               476.88
                            Check Amount                    0.00             0.00                          PA Unemploy                                        2.01                11.38
                            Chkg 2356                    1946.69         10883.64                          PA PHILA-Phi Inc                                 130.15               736.05
                            NET PAY                      1946.69         10883.64
                                                                                                           TOTAL                                            834.88              4585.73
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              3431.82

                                                                                                           TOTAL                                            571.97              3496.37




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.69               10883.64

                             Payrolls by Paychex, Inc.

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                                 MIDDLE EAST FORUM
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                                                                                                                                                                                          Payrolls by Paychex, Inc.
                                 1650 MARKET ST SUITE 3600                             ORG1:100 Employee
                                 PHILADELPHIA PA 19103
                                                                                       EE ID: 109      DD
Payrolls by Paychex, Inc.




                                                                         LISA BARBOUNIS
                                                                         2601 PENNSYLVANIA AVENUE 1153                                             NON-NEGOTIABLE
                                                                         PHILADELPHIA PA 19130




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS             DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Lisa Barbounis
                            2601 PennsylvaniaAvenue 1153                                                   Regular                  M40.00                2853.54    M200.00   14112.20
                            Philadelphia, PA 19130                                                         Bonus                                           500.00               1500.00
                            Soc Sec #: xxx-xx-xxxx Employee ID: 109                                        Total Hours               40.00                            200.00
                                                                                                           Gross Earnings                                 3353.54              15612.20
                            Home Department: 100 Employee                                                  Total Hrs Worked          40.00
                                                                                      WITHHOLDINGS         DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Pay Period: 03/01/19 to 03/15/19
                            Check Date: 03/15/19     Check #: 22721                                        Social Security                                  172.46               790.65
                            NET PAY ALLOCATIONS                                                            Medicare                                          40.33               184.91
                                                                                                           Fed Income Tax MWS 0                             404.55              1768.53
                            DESCRIPTION          THIS PERIOD ($)           YTD ($)                         PA Income Tax                                     85.39               391.49
                            Check Amount                    0.00              0.00                         PA Unemploy                                        2.01                 9.37
                            Chkg 2356                    1946.68           8936.95                         PA PHILA-Phi Inc                                 130.15               605.90
                            NET PAY                      1946.68           8936.95
                                                                                                           TOTAL                                            834.89              3750.85
                                                                                      DEDUCTIONS           DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                           Deduction                                                              64.55
                                                                                                           Pre-Tax Medical                                  571.97              2859.85

                                                                                                           TOTAL                                            571.97              2924.40




                                                                                      NET PAY                                                      THIS PERIOD ($)               YTD ($)
                                                                                                                                                          1946.68                8936.95

                             Payrolls by Paychex, Inc.

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       EXHIBIT 60
        Transcript
       of Recording
        by Plaintiff
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Marnie (00:00):
Hello?

Lisa (00:02):
Hey.

Marnie (00:03):
Hi.

Lisa (00:03):
Okay, so-

Marnie (00:18):
Listen.

Lisa (00:18):
No, I think-

Marnie (00:20):
No, no I'd like to...I'd like to say something quick. First. Tell me not to be quick, but I would like...I think
you think you know what I'm thinking, and I don't think that you do. So I want to enlighten you as to
what I'm thinking, and I'm very calm right now, and hopefully I can stay that way. But I am not happy.

Lisa (00:37):
I think you're confused about what I was thinking, so it may be beneficial to clear that up first before we
move on, because-

Marnie (00:44):
What are you talking about?

Lisa (00:45):
Like this point person thing. You keep thinking...I thought it was a content thing with the project
directors and with events. I did not think it was like administrative at all.

Marnie (00:55):
I don't...I don't know. Listen, I don't know why you would have thought that, and I-

Lisa (00:59):
'Cause that's what he said in the meeting!

Marnie (01:01):
...Lisa. No he didn't!




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Lisa (01:02):
Yes he did.

Marnie (01:03):
...person from the office!

Lisa (01:06):
No, Marnie. We were talking about...at that point we were talking about events, and that's what
everybody else thought as well.

Marnie (01:10):
Well, listen. Listen. Okay, here's the thing Lis...you still don't know what I'm thinking, so I'm gonna tell
you, 'cause that's not how he saw it. And I'll tell you why. Because he offered it to me. In a meeting prior
to that the week before. He wanted me to be the point person. So he really...I don't know why you all
thought that, but that's not what he meant. And it's not what he meant the first time either. You were
the one that-

Lisa (01:39):
The first time...the first time was...wait...excuse me! No, fuck you Marnie! I'm so tired of this. The first
time was different. The first time was a Matt thing and it was different. This time we were all set in our
positions...Trisha had her own thing, I had my own thing, he had his own thing, and now we were talking
about project directors. So that's where we went with it. That's what every single person thought. I'm
tired of everybody needing a [crosstalk 00:02:01] excuse me I'm not done! I am tired of everybody
having power trips in this place. It's really exhausting! It's exhausting! Nobody's conspiring to do
anything against you, right? Nobody's conspiring anything. You are on a power trip.

Marnie (02:14):
I am not on a power...I'm not on a fucking power...what are you talking about?! Listen to me. Can you
listen? For at least a second, and I'll tell you what I thought? Why is it that no one in the office for the
next few days was talking to me or looking at me, just like I worked on fucking Survivor Island-

Lisa (02:33):
I asked you to come to lunch!

Marnie (02:34):
...walked in torture.

Lisa (02:36):
You're crazy. I asked you to come to lunch.

Marnie (02:38):
No, stop! Just stop. And hear-

Lisa (02:41):


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You left the office and slammed the door. You left the office and slammed the door. Didn't say goodbye
to anybody. Nobody knows what you were doing. On, uh, not yesterday, the day before. You walked out
of the office, slammed the door, and left, and nobody heard from you.

Marnie (02:53):
It's 'cause I had an argument with Daniel. Can I tell you what happened so you can understand why I feel
the way that I do?

Lisa (03:00):
Sure.

Marnie (03:01):
Will you listen and hear me now?

Lisa (03:02):
Go ahead.

Marnie (03:03):
Because I don't know why you all thought that it was events and stuff, because it was an office...office
stuff. He said an office point. And I took it that way, and maybe I took it that way because, like I said, he
offered me that position. And I said that I would be happy to take it because...but I wanted money for it.
Because I wasn't taking on extra bullshit because...I can't say too much...but I said I wanted money. He
said, "I'll think about it". So here's how I see it. Every time there is an opportunity for me to showcase or
promote or tap somebody on the back in front Daniel, in front of anybody, I do it. Every goddamn time.
And when he said office point person, I don't know why you all thought that it had to do with project
directors because they're not in the office. So-

Lisa (04:01):
Because that's what the conversation was about!

Marnie (04:04):
Stop! Listen. Let me...please hear me. Office point person is about stance, and events and all that are
covered under Trisha, right? Project director...I put you in for that. You got CC'd on that ship because I
said it was a good idea to have you in there. I was trying to be strategic with him. So-

Lisa (04:23):
That's what we thought this was!

Marnie (04:24):
...office preen up...office! Office, Lisa! It's office! Come on! It's office-

Lisa (04:33):
Marnie you...you're-




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Marnie (04:34):
...director point person.

Lisa (04:35):
You are...no, no we didn't think it was just...excuse me! We didn't think it was just point...we thought it
was a coordination between Daniel, comms, events, and project directors, which all meld into each
other. We thought that's what it was. When Trisha thought she needed a point person, it was to talk
about content, or talk about who was gonna approve fucking...um-

Marnie (04:57):
No, it was the going ons of the office, is what it was. Seriously. I-

Lisa (04:59):
You are wrong! You are wrong! You are wrong and everybody will tell you right now that we think that
you are wrong! That's not what we thought this was.

Marnie (05:08):
Okay. Okay. So now I'm gonna tell you why...I know that...that that's what you thought. Because like I
said, he offered it to me, and I said, "Daniel, if you're gonna give me that, it comes with...it comes with
extra responsibility. It comes with extra stuff, and I'm not doing it". 'Cause Lisa, I'm already underpaid,
and I know everybody feels underpaid, but I can tell you that I...generally...generally...[inaudible
00:05:35] underpaid. Okay? So-

Lisa (05:38):
Listen, I hear you, but-

Marnie (05:42):
Listen! You're not listening! Let me finish!

Lisa (05:42):
Fine.

Marnie (05:45):
He said, "I'll think about it". The next time I heard, he put it out for a vote, and I'm thinking that you
would have my goddamn back and say, "Yeah, Marnie should be the point person of the office", and
what happened? Everybody goes...oh, you know what everybody did, but I know you didn't vote for me,
and he was shocked, so called and told me. So now I got fucking money ripped out my goddamn pocket.
Again!

Lisa (06:12):
Marnie!

Marnie (06:12):
That's why I'm pissed off.


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Lisa (06:13):
Marnie. Okay, well let me tell you something-

Marnie (06:14):
...what happened, and I'm sorry that you guys have [inaudible 00:06:18] I...I just-

Lisa (06:19):
I think that you need to back up a minute and calm down. You need to back up and calm down a minute
because let me tell you this. You didn't tell me that he offered you anything, and it was not explicitly
clear what the fuck he was offering. Excuse me! He was not explicitly clear about what he was offering
anyway, okay? And so if we were all confused about what he was offering, nobody know they're ripping
money out of your pocket.

Marnie (06:39):
Here's the thing. Here's the thing. Abby [inaudible 00:06:41] needs posture. I hope you're not screaming
that through the office so everybody-

Lisa (06:45):
There's nobody here! There's not one fucking person here. Matt's not here. [inaudible 00:06:48] is not
here. You're not here. The lady's not here. Fellas aren't here. I'm here all alone. Alone.

Marnie (06:52):
Good, good. My fucking hearing's broken, that's why I'm not there. So anyway.

Lisa (07:00):
Well I'm not...I'm not out to fucking get anybody. I think we were all very confused about what this was.
And...and...and fuck him if he wanted to offer it to you and give you a vote, then he shoulda did it on his
own. Then it should've been never left to us.

Marnie (07:14):
He didn't wanna...he didn't wanna give me a bump, Lisa. He wanted you to all vote me, and then he
probably woulda gave it to me. He was hoping that he would...that you would vote for somebody else,
and then he wouldn't have to fucking give it to me.

Lisa (07:24):
Well why didn't you tell us that?!

Marnie (07:25):
...what happened, and called him on it! I won't fucking pick up...because now he's fucking looking at me
in the eyes. I walked in the office the one day and three of you are [inaudible 00:07:34] and walked into
the goddamn corner. That's why.

Lisa (07:37):
What are you talking about?!


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Marnie (07:39):
I am talking about...I saw it. I watched it. It was impossible the last couple days, right? No?

Lisa (07:45):
No, there was...it was uncomfortable. It was only...no, no, no. It was only uncomfortable when me and
Trisha were sitting in the office, we hear a door slam in your office, and then we hear the front door
slam in that office, and you didn't say goodbye to everybody. You were gone. So we're like, Marnie's
mad about something.

Marnie (07:59):
Yeah.

Lisa (08:00):
Well we didn't know what it was.

Lisa (08:03):
We didn't know what it was! We had no idea what you were talking about.

Marnie (08:06):
Here's the thing, Lisa. Here's the thing. You all talked about what it was, and-

Lisa (08:11):
No we didn't! As a matter of fact, we didn't talk about what it was until after. Until after the fact, I didn't
talk to Katrina, swear on my fucking kid's life. I didn't talk to fucking Thelma, swear on my kid's life. You,
me and Trisha were in an office. Trisha said in front of you she was voting for her fucking self, so I didn't
know till after the fact that she fucking voted for me. The only person that I knew that was voting for me
was fucking Delaney. That was it! That's the only person that I knew. I didn't talk to fucking any of them!

Marnie (08:40):
I didn't know anybody was voting, because I just fucking didn't. Look, I'm pissed off. I am fucking pissed
off. I don't feel...I don't feel like anybody there has my back. I don't feel like anybody gives a shit, and
again, second time, the way I see this? I got money ripped out of my fucking pocket. So don't...don't-

Lisa (08:58):
Well, you're seeing it wrong. You're seeing it in some weird paranoid light.

Marnie (09:01):
I'm not seeing it wrong-

Lisa (09:04):
You are seeing it wrong-

Marnie (09:04):
...not seeing it fucking wrong.


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Lisa (09:04):
You are. You are seeing it wrong.

Marnie (09:05):
And let me tell you something...and let me tell you something. Ultimately, I blame Daniel [inaudible
00:09:11] for this, 'cause he did this. He fucking did this.

Lisa (09:17):
Like, that's fine, but like when I saw you...when I tell you...when I tell you from the bottom of my
heart...we did not think...we thought it had to do with content. Every fucking person there thought it
had to do with content. Every. Single. One.

Marnie (09:32):
I don't understand why. I don't understand why.

Lisa (09:33):
Because that's what the conversation was, when we were in that room! We were talking about getting a
new director. We were talking about content. We were talking about all that kind of stuff. We were
talking about events, and coordinating between events, and between the project directors. That's why
we all thought it was there. We thought it was coordination of content and projects and events.

Marnie (09:54):
A point person from the office to Daniel!

Lisa (09:57):
What?

Marnie (09:57):
Is what he said. It was a point person from the office to Daniel.

Lisa (09:57):
About content!

Marnie (09:58):
Look. Look. No! I'm telling you! I'm telling you! That's not what he wanted.

Lisa (10:04):
Well then he should've been more clear. Then he should've been more clear, because everybody else
but I guess, you and him, thought the opposite. I would've never fucking put my own name in the
fucking ring if I didn't think it was content. I don't wanna do administrative shit. I don't wanna keep track
of-

Marnie (10:21):



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It's not administrative. It wasn't administrative! It was a nod...it was a nod. Trisha got a nod! You got a
nod! And I got fucking nothing-

Lisa (10:34):
What did I get a nod for?

Marnie (10:35):
...which is what fucking happens.

Lisa (10:35):
What did I get a nod for?

Marnie (10:36):
You got put in with the project directors. That's what you got. You got CC'd on the reports.

Lisa (10:40):
I was always CC'd on the reports. I have always been-

Marnie (10:42):
Nuh-uh, he...

Lisa (10:44):
He put in...if you're already not doing it, but I've been getting the project report since Greg left, and I
have emails to show you- hey, no no no! No, no no. I have to see...I could show you, that when fucking
Greg left-

Marnie (10:55):
I don't care.

Lisa (10:55):
When...no, no! I want you to care, because you're lying! Or not lying, you don't understand. You don't
understand.

Marnie (11:01):
No-

Lisa (11:02):
No, you don't! You don't understand! I'll tell you why-

Marnie (11:05):
...called me a liar. Don't you fucking dare-

Lisa (11:07):



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Well then you don't know what you're talking about. This is...then you don't know what you're talking
about, because- let me explain. Because when Greg left, DP wrote me an email and said, "Do you need
to be CC'd on all the...still on all the weekly reports?" And I said, "If I'm doing communications, it would
be helpful" and that was two months ago, and so DP sent it out to all them, and I have the email that has
it. That I sent it out. "Please CC Lisa on all your weekly reports". Months ago, and then he redid it two
days ago. But they were already doing it, they never stopped since I was Greg's assistant.

Marnie (11:40):
That was me the first time, Lisa. That was me the first time too, Lisa.

Lisa (11:43):
No, I sent it back to him! I sent it back to him! He said, "Do you need to be CC'd on these?" He said, "Do
you need to be CC'd on these?" And I'll show you the email chain. And I said, "I do if it has to do with
comms".

Marnie (11:56):
He asked you because I suggested it.

Lisa (11:58):
Oh, I don't know. Either way, it doesn't matter. And no, I'm not...I'm not positioned in...for shit. I don't
care. I just want to do my job! This is so annoying!

Marnie (12:08):
...exactly how I feel. That is exactly how I feel, and that's exactly what I'm doing, and I just said to you,
it'll blow over, and everything will be fine, but for right now, I'm fucking pissed off, 'cause I got screwed.
And you don't see it that way, but I fucking do.

Lisa (12:23):
Well I'm sorry that you feel that way, because it's definitely not the way it was fucking going down. I
mean, I don't know what you're thinking-

Marnie (12:26):
No, that's the way it did go down.

Lisa (12:30):
No, you're...you're wrong.

Marnie (12:35):
I don't know what to tell you.

Lisa (12:35):
Huh? I don't know. I don't either, but I think that you're...I think that you're coming from a place where
like, you got money ripped out of your pocket, and you feel some type of certain way, but it has
nothing...like, there's no fucking coup, nobody planned it. Nobody anything, and-


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Marnie (12:57):
I didn't say that there was. I didn't say that there was.

Lisa (12:59):
Okay, but-

Marnie (12:59):
You actually said that.

Lisa (13:01):
What? Who said that?

Marnie (13:04):
Nothing. Nothing. No one said it.

Lisa (13:06):
Okay, well, listen. I'm not...I cannot believe this. I...I really...you know what? Maybe I should just fucking
leave, because I keep getting fucking thrown into shit that I don't even fucking want to be in. Like this is
bullshit. This is fucking bullshit over and over and over again.

Marnie (13:22):
Agreed. Agreed.

Lisa (13:26):
I'm tired. You know, I'm really fucking tired of walking in the office and hearing shit-

Marnie (13:33):
Here's another thing that bothers me, is, it's these little, little things, these little grabs. Trisha comes out
of a meeting with Daniel then she goes, "Who do I contact to talk about the light? I told Daniel I would
look into it because we both have the same problem with our office". I manage the office. I manage the
footprint. What you do, Trisha, is you tell Daniel, "I'll let Marnie know that we both have the same
problem, and she'll take care of it". 'Cause that's my fucking job. You don't tell...you don't ask me for my
fucking contacts, and then think...try to look like a hero to Daniel. You give somebody else what's in
their wheelhouse. What their responsibility is. That's what you do. And then, follows it up with, you're
inviting me to the calendar, when I'm like, oh, I thought I was doing this, and the other shit going on that
I don't even know about.

Lisa (14:21):
I don't...well how come you weren't on the call? This is what happened. We're on the call today- no,
we're on the call today, and DP goes, well now that I'm in this new thing, my MEF calendar is missing,
right? And...and everybody was like, uh, well just make a new one. I was like no guys, you can just pull it
over, it takes two seconds. I go over to the calendar, I put everybody's email in, I hit send, and I said,
here it is. And that was it. It was because DP asked the question, and it was done. Like, if you were on
the call, you would've known that.


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Marnie (14:50):
I didn't want to go on the call, and Nicole said if you prefer not to...I didn't have time to because my
heater guy was here.

Lisa (14:56):
Okay, but like...but my thing is, is that nobody was trying to usurp you. Daniel asked the question, and I
fixed it.

Marnie (15:00):
There's no usurping. There's no usurping. I see us as a team. And I don't always feel that we're a team. I
feel that...there's angling and posturing, and I don't fucking like it. I don't like to work like that. I don't...I
don't enjoy-

Lisa (15:17):
But who's angling and posturing? I'm not angling and posturing for shit. I'm trying to keep my head
afloat.

Marnie (15:20):
Seems like it...seems like it when you got picked as point person of the office-

Lisa (15:24):
If...I didn't do that. That was-

Marnie (15:26):
...that you don't even fucking work in.

Lisa (15:28):
That was what the fucking...I...you think I went into Thelma and said, "Hey Thelma, vote for me"? Come
on, Marnie.

Marnie (15:34):
I don't know who voted for anybody, Lisa. I don't even know who voted for anybody. All I know is, it's
bullshit, and I'm tired of it too. I don't...I don't want to do this anymore, and I won't do it.

Lisa (15:46):
I think it...like I didn't posture. Let me tell you right now, I didn't posture for shit. For shit.

Marnie (15:52):
That's...look. That's fine. You're telling me that it was a misunderstanding. I'm not really sure how office
liaison turned into events and...I mean there's more to it than that. There's way more to an office than
just the events and the project directors. There's a lot to it. Whatever. It's fine.

Lisa (16:12):



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I'm telling you, it was not...at least for me, what I thought it was...development, events, and fricking
project directors all one, so that everybody could have like the same content thing, and the same...what
everybody was doing about when, and events, and things like that. And what-

Marnie (16:29):
I don't remember that even being discussed. I don't remember that. I mean, I don't remember him
saying that. I don't remember that at all.

Lisa (16:35):
That's what we...I mean-

Marnie (16:36):
I remember talking about being an office person. Yeah, I mean that makes sense, but then he said,
"Okay now, I need a point person for the office" [crosstalk 00:16:43] into it, and then he went...why
would he even ask for a point person for the office? He would've just made one of you it! Probably you,
because he just gave Trisha a bump!

Lisa (16:53):
Well, I...here's the other thing. If he offered it to you, why'd he ask us anyway?

Marnie (16:57):
You're all...look, you guys are all confused, whatever. It happened, it wasn't anybody's fault. I got
screwed. I'm fucking pissed about it. I am fucking pissed about it. 'Cause he's still coming at me to
fucking do this shit that I didn't get picked to do, and that I'm not getting fucking paid to do.

Lisa (17:12):
Well I would be upset if I were you, too! I- listen. I would be upset if I were you too, but, like not at us,
because we had...I had a fucking completely different...I can speak for everyone, but from what I hear,
right, that's what everybody thought. We fucking-

Marnie (17:27):
That's good. All right. Now we know...we all know how everybody saw it, and I'm gonna need a little
time to calm the fuck down. That's all.

Lisa (17:33):
Well I just wanna let you know, it has nothing to do about you or against you, or none of that shit,
like...and if he offered it to you, why put it up for a vote? And that's the ting, like-

Marnie (17:44):
'Cause he didn't want to pay me. 'Cause he didn't want to pay me.

Lisa (17:48):
Well, that's on him. That's not on us.




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Marnie (17:49):
Yeah, okay. If somebody had fucking voted for me, I would've been getting paid right now.

Lisa (17:53):
But...okay, then tell us that! I don't even know...like I didn't know any of this. We were very confused-

Marnie (17:58):
...up until he did it!

Lisa (18:00):
We are very confused about what...

Marnie (18:04):
I just...I fucking hate this. I just don't want...I don't want this.

Lisa (18:07):
I don't either. This is awful. And I'm in your office every day, and we talk every day. And we talk, and we
talk fucking straight as shit with each other, so if you fucking think that, you should come to me and ask
me.

Marnie (18:19):
Wait, you know what? Fuck you, Lisa! I come back, and um, you're and Trisha, which boggles my mind,
are in the same office, having [inaudible 00:18:28] and you're all looking at me like, "Hello! Hi!", like, I
was talking to you guys on the phone while you were fucking doing it. You couldn't be like, "Oh,
[inaudible 00:18:36]". So if you're a liar, why the fuck-

Lisa (18:42):
You know what, that's not true either. Wow, Marnie. That's not true either.

Marnie (18:43):
I was talking to Trisha! I called Trisha. She was walking in. You guys knew. You were doing-

Lisa (18:50):
What time was this? What time was this? What time was this? Because let me tell you right now, I can
show you the text messages. At almost four o'clock, I text messaged Daniel, "Do you give a shit if me and
Trisha are in the same office?". He goes, "No, go for it", right?

Marnie (19:00):
I was talking to Trisha at 04:30!

Lisa (19:02):
I was gone!

Marnie (19:02):

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Obviously-

Lisa (19:05):
I was gone by 04:30 because I had to pick up my kids. We did all this shit in a half an hour, and I said, "I
can't believe we did it in half an hour"-

Marnie (19:13):
Right, right.

Lisa (19:13):
...and I was gone!

Marnie (19:14):
So I was talking to Trisha! So I was talking to Trisha, and she didn't mention a fucking thing. Like-

Lisa (19:19):
Well, that ain't me!

Marnie (19:27):
...have a fucking....if you don't have a fucking problem with somebody, [inaudible 00:19:27].

Lisa (19:41):
You weren't talking to me, or I would've just said it, 'cause I don't mind shit. I...you know what I mean?
Like you were talking to Trisha, that's fine. Or-

Marnie (19:47):
[inaudible 00:19:47] I told...I told Delaney and Katrina to do it. I was like if you guys wanna go back, go
back. I was like, but you wanna work in here for half the day and make it look...we're hanging out, we
can do whatever we want.

Lisa (20:00):
I know, they...she...they told me that you said...were like, uh, "Marnie, you guys can go in Greg's office
and share a room", and they were like, "Nah, we're good", and then like you said that Lisa and Trish, so
maybe you should go in Greg's office. I wasn't there.

Marnie (20:05):
Whoa, whoa, whoa, whoa, whoa, whoa. I didn't say anybody should go in there. I was joking-

Lisa (20:13):
Oh, well either way. Either way, that's- but that's what they said. So nobody thought that you would
care, it was a problem, or anything.

Marnie (20:20):



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I thought...but I...it's just that. If something that big is going on and everybody's all excited about it...and
I'm talking to somebody on the phone...and interacting, and you guys know you're going to do it, and
going to ask or whatever, and nobody fucking mentions it?

Lisa (20:37):
It was- no, no, no, it was a-

Marnie (20:40):
I know. Why else would...and then the next day, you're voting, and everybody's like, "Oh! You know
what? Fuck it!"

Lisa (20:48):
Marnie, I don't- I don't think...I think that you're taking this way too personally. I mean it.

Marnie (20:56):
I'm taking it...I'm not taking it personally! I couldn't give a fuck. I didn't care when you moved your
offices, and I really don't care. I understand why nobody would vote for me. I fucking told...I just told
Delaney to get her shit together. I'm taking my work [inaudible 00:21:06]. I shouldn't really expect to get
her vote, but, I would've expected yours.

Lisa (21:12):
But if I...if I would've thought it was the same thing you thought it was, then I would've voted for you!
God as my witness!

Marnie (21:20):
Right [crosstalk 00:21:22].

Lisa (21:25):
Oh my god.

Marnie (21:27):
Why would...why would he say everybody vote for yourself if it had something...why would he say
everybody vote for yourself if you want if it was something to do with content?

Lisa (21:35):
Because- because first of all, Katrina's writing articles, Delaney has a history in that, and- and wait-
and...and who else...and who else was he talking to? I thought he was talking to all, like...me, you and
Trisha. I guess. That's what I thought.

Marnie (21:51):
Right, look. I'm done with this. I'm not discussing it again-

Lisa (21:55):
Okay.


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Marnie (21:55):
...I have a fucking headache. I'm sick to my stomach-

Lisa (21:58):
So am I. I've been sick for three days.

Marnie (22:00):
...bullshit. And...I just want to go to job...go to work and do my job, and I'm just done with it.

Lisa (22:09):
Me too.

Marnie (22:11):
Have a good weekend.

Lisa (22:11):
You too.




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